January

Milligan, Jason
Morgan, Freda
Morrone, Carl
Moua, Keu
Mueller, Thomas
Nash, Lawrence
Negron, Angel
Nelson, Alvin
Olson, Larry
Page, Lorren
Peterson, Bruce
Reese, William (Bill)
Reese, Duane
Roberts, John
Schmidt Paul
Seaberry, Joseph
Shofiner, Sharaf
Smith, Robert
Weakly, Richard
Yancey, Janice
Zapolski, Cathrine
Zyduck, Linda

New Samaria Rent Rosters 2008

February

McNealy, Willie

Miles, Patti

Milligan, Jason
Morgan, Freda
Morrone, Carl
Moua, Keu

Mueller, Thomas
Neilson, Alvin
Noack, Otto

Olson, Larry

Page, Lorren
Peterson, Bruce
Pietrzak, Michael
Reese, William (Bill)
Reese, William (Bill)
Reese, Duane
Richardson, Lauren
Roberts, John
Schmidt Paul

Schoenfield, Anastasia -

Seaberry, Joseph
Shoffner, Sharaf

‘Smith, Robert _

Weakly, Richard
Yancey, Janice
Zapolski, Cathrine
Zyduck, Linda

March

Miles, Patti
Milligan, Jason
Morgan, Freda
Morrone, Carl
Moua, Keu
Muetier, Thomas
Negron, Angel
Nelson, Alvin
Noack, Otto
Olson, Larry
Page, Lorren
Peterson, Bruce
Pietrzak, Michael!
Reese, William (Bill)
Reese, Duane
Richardson, Lauren
Roberts, John
Rowden, Patricia
Schmidt Paul
Seaberry, Joseph
Shoffner, Sharaf
Smith, Robert
Stovall, Ruth
Weakly, Richard
Yancey, Janice
Zapolski, Cathrine
Zyduck, Linda

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 1 0f 93 Document 12-2
New Samaria Rent Rosters 2008

April

Adkins, Willie
Aliman, Lester
Antezak, Wayne
Avant, Anthony
Bestland, Michael
Bradetich, Greg
Brewer, Jeffery
Carr, Gregory
Davenport, Ronnie
Doll, David

Dorner, Justin
Dreyfus, Cynthia
Friedli, Russell
Garza, Fernando

_ Gonzalez-Rivera, Melenio
Grayson, Seywood
Greussing, Jennifer
Grider Bruce
Grider, Anthony
Grochowski, Jean
Hagie Pat
Hammernik, Christopher
Hamsing, Caroline
Harris, Kenneth
Haubert, Michael
Horst, William
Horvath, James
Hubbard, James
Jayasuria, Parakrma
Johnson, David
Johnson, Gary
Jole, Robert
Joyner, Jeff
Kaniewski, Martha
Kosnicki, Michael
Kuligowski, Leslie
Kuykendall, Calvin
Lambert, Geraid
Mayloa Terry |
McNealy, Willie

May

Adkins, Willie
Altman, Lester
Antezak, Wayne
Avant, Anthony
Bestland, Michael
Brewer, Jeffery
Carr, Gregory
Davenport, Ronnie
Doll, David

Dorner, Justin
Dreyfus, Cynthia
Friedli, Russell
Garza, Fernando
Gonzalez-Rivera, Melenio
Grayson, Seywood
Greussing, Jennifer
Grider Bruce
Grider, Anthony
Grochowski, Jean
Hagie Pat
Hammernik, Christopher
Hamsing, Caroline
Haubert, Michael
Horst, Wiliam
Horvath, James
Hubbard, James
Jayasuria, Parakrma
Johnson, David
Johnson, Gary
Jole, Robert
Joyner, Jeff
Kaniewski, Martha
Kosnicki, Michael
Kuligowski, Leslie
Kuykendall, Calvin
Lambert, Gerald
Mayloa Terry
McNealy, Willie
Miles, Patti

Milligan, Jason

June

Adkins, Willie
Altman, Lester
Antczak, Wayne
Avant, Anthony
Bestland, Michael
Bradetich, Greg
Brewer, Jeffery
Britson, Deborah
Carr, Gregory
Davenport, Ronnie
Doll, David

Dorner, Justin
Dreyfus, Cynthia
Friedli, Russell
Garza, Fernando
Gonzalez-Rivera, Melenio
Grayson, Seywood
Greussing, Jennifer
Grider Bruce
Grider, Anthony
Grochowski, Jean
Hagie Pat.
Hamsing, Caroline
Harris, Kenneth
Haubert, Michael
Horvath, James
Hubbard, James
Jayasuria, Parakrma
Johnson, David
Johnson, Gary
Jole, Robert
Joyner, Jeff
Kaniewski, Martha
Kosnicki, Michael
Kuligowski, Leslie
Kuykendall, Caivin
Lambert, Gerald
Mayloa Terry
McGuigan, Jennifer
McNealy, Willie

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 2 of 93 Document 12-2
New Samaria Rent Rosters 2008

April

Miles, Patti .
Milligan, Jason
Morgan, Freda
Morrone, Car!
Moua, Keu
Mueller, Thomas
Negron, Ange!
Nelson, Alvin
Noack, Otto
Olson, Larry
Page, Lorren
Peterson, Bruce
Pietrzak, Michael
Reese, William (Bill)
Reese, Duane
Richardson, Lauren
‘Roberts, John
Rowden, Patricia
Schmidt Paul
Seaberry, Joseph
Shaw, Michael!
-Shoffner, Sharaf
Smith, Robert
Stovall, Ruth

' Weakly, Richard
Yancey, Janice
Zapolski, Cathrine
zyduck, Linda

May

Morgan, Freda
Morrone, Carl
Moua, Keu

Mueller, Thomas
Negron, Angel
Nelson, Alvin

Olson, Larry

Page, Lorren
Peterson, Bruce
Pietrzak, Michael
Reese, William (Bill)
Reese, Duane
Richardson, Lauren
Roberts, John
Rowden, Patricia
Schmidt Paul
Seaberry, Joseph:
Shaw, Michael
Shoffner, Sharaf
Smith, Robert
Stovall, Ruth
Weakly, Richard .
Yancey, Janice
Zapolski, Cathrine
B Uttke 2 weeks stay

June

Miles, Patti
Milligan, Jason
Morgan, Freda
Morrone, Carl
Moua, Keu
Negron, Angel
Nelson, Alvin
O'Malley, Angela
O'Malley, Angela
Olson, Larry
Page, Lorren
Peterson, Bruce
Pietrzak, Michael
Reese, William (Bill)
Reese, Duane
Richardson, Lauren
Roberts, John
Schmidt Paul
Seaberry, Joseph
Shaw, Michael
Shoffner, Sharaf
Smith, Robert.
Stovall, Ruth
Weakly, Richard
Yancey, Janice
zapolski, Cathrine
Zapolski, Cathrine

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 3 of 93 Document 12-2
‘New Samaria Rent Rosters 2008

July

Adkins, Willie
Altman, Lester
Antczak, Wayne
Avant, Anthony
Bell, LeRoy
Bestiland, Michael
Bradetich, Greg
Brewer, Jeffery
Britson, Deborah
Carr, Gregory
Davenport, Ronnie
Doll, David
Dorner, Justin
Dreyfus, Cynthia
Friedli, Russell
Garza, Fernando

Gonzalez-Rivera, Melenio -

Grayson, Seywood
Greussing, Jennifer
Grider Bruce

Grider, Anthony
Grochowski, Jean
Hagie Pat
Hamsing, Caroline .
Harris, Kenneth
Haubert, Michael
Horvath, James
Hubbard, James
Jayasuria, Parakrma
Johnson, David
Johnson, Gary
Jole, Robert
Joyner, Jeff
Kaniewski, Martha
Kosnicki, Michael
Kuligowski, Leslie
Kuykendall, Calvin
Lambert, Gerald
Mayloa Terry
McGuigan, Jennifer

August

Adkins, Willie
Adkins, Willie
Altman, Lester
Andrea, Peter
Antczak, Wayne
Avant, Anthony
Bell, LeRoy
Bestland, Michael
Bradetich, Greg
Brewer, Jeffery
Britson, Deborah
Carr, Gregory
Davenport, Ronnie
Doll, David
Dorner, Justin
Dreyfus, Cynthia
Friedli, Russell
Gonzalez-Rivera, Melenio
Grayson, Seywood
Greussing, Jennifer
Grider Bruce

- Grider, Anthony

Grochowski, Jean
Hagie Pat
Hamsing, Caroline
Harris, Kenneth
Horvath, James
Hubbard, James
Hughes, Cindy
Johnson, David
Jole, Robert
Joyner, Jeff
Kaniewski, Martha
Kay, Sandy
Kosnicki, Michael
Kuligowski, Leslie
Kuykendall, Calvin
Lambert, Gerald
Mayloa Terry
MeGuigan, Jennifer

September

Adkins, Willie
Altman, Lester
Andrea, Peter
Antezak, Wayne
Avant, Anthony
Bell, LeRoy
Bestiand, Michae!
Brewer, Jeffery
Britson, Deborah
Carr, Gregory
Cribb, Molly
Davenport, Ronnie
Doll, David

Dorner, Justin
Dreyfus, Cynthia
Friedli, Russell
Gonzalez-Rivera, Melenio
Grayson, Seywood
Greussing, Jennifer
Grider Bruce
Grider, Anthony
Grochowski, Jean
Hagie Pat
Hammernik, Christopher
Hamsing, Caroline
Harris, Antione
Harris, Kenneth
Holquist, Prescott

‘Horvath, James

Hubbard, James
Hughes, Cindy
lhrcke, Sarah
Johnson, David
Joyner, Jeff
Kaniewski, Martha
Kay, Sandy
Kosnicki, Michael
Kuligowski, Leslie
Kuykendall, Calvin
Lambert, Gerald

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 4 of 93 Document 12-2
New Samaria Rent Rosters 2008

July

McNealy, Willie
Meyer, Margaret
Miles, Patti
Milligan, Jason
Moore, Patrick
Morgan, Freda
Morgan, Michael
Morrone, Carl
Moua, Keu

Nedd, Wiliam Jr
Negron, Angel
Nelson, Alvin
O'Malley, Angela
Olson, Larry
Peterson, Bruce
Reese, William (Bill)
Reese, Duane
Richardson, Lauren
Roberts, John
Schmidt Paul
Seaberry, Joseph
Shaw, Michael
Shoffner, Sharaf
Smith, Robert
Stovall, Ruth
Weakly, Richard
Yancey, Janice
Zapolski, Cathrine

August

McNealy, Willie
Meyer, Margaret
Miles, Patti
Milligan, Jason
Moore, Patrick
Morgan, Freda
Morgan, Michael
Morrone, Carl
Moua, Keu

Nedd, William Jr
Negron, Angel
Nelson, Alvin
Nicholson, Julie
Norwood, Mone'y
Norwood, Mone'y
Olson, Larry
Peterson, Bruce
Reese, William (Bill)
Reese, Duane
Richardson, Lauren
Roberts, John
Schmidt Paul
Seaberry, Joseph |
Shaw, Michael
Shoffner, Sharaf
Smith, Robert
Stovall, Ruth
Trammell, Larry
Weakly, Richard
Woyak, Clayton
Yancey, Janice
Zapolski, Cathrine

September

Mayloa Terry
McGuigan, Jennifer
McNealy, Willie
Meyer, Margaret
Miles, Patti
Milligan, Jason
Moore, Patrick.
Morgan, Freda
Morgan, Michael
Morrone, Cari
Moua, Keu

Nedd, William Jr
Negron, Angel
Nelson, Alvin
Nicholson, Julie
Norwood, Mone'y
Olson, Larry
Peterson, Bruce
Reese, William (Bill)
Reese, Duane
Richardson, Lauren
Roberts, John
Schmidt Paul
Seaberry, Joseph
Shaw, Michael
Shoffner, Sharaf
Smith, Robert
Stovall, Ruth
Weakly, Richard
Woyak, Clayton
Yancey, Janice
Zapolski, Cathrine

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 5o0f93 Document 12-2
New Samaria Rent Rosters 2008

October

Adkins, Willie
Altman, Lester
Antezak, Wayne
Avant, Anthony
Bell, LeRoy
Bestland, Michael
Brewer, Jeffery
Carr, Gregory
Cribb, Molly
Davenport, Ronnie
Doll, David

Dorner, Justin
Dreyfus, Cynthia
Friedli, Russell
Gonzalez-Rivera, Melenio
Grayson, Seywood
Greussing, Jennifer
Grider Bruce
Grider, Anthony
Grochowski, Jean
Hagie Pat
Hammernik, Christopher
Hamsing, Caroline
Harris, Antione
Harris, Kenneth
Horvath, James
Hubbard, James
Hughes, Cindy
Johnson, David
Joyner, Jeff
Kaniewski, Martha
Kay, Sandy
Kosnicki, Michael
Kuligowski, Leslie
Kuykendall, Calvin
Lambert, Gerald
‘Mayloa Terry
McGuigan, Jennifer
McNealy, Willie
Meyer, Margaret

November

Adkins, Willie
Altman, Lester
Antczak, Wayne
Avant, Anthony
Bell, LeRoy
Bestland, Michael
Brewer, Jeffery
Carr, Gregory
Cribb, Molly
Davenport, Ronnie
Daykstra, Ronald
Daykstra, Ronald
Doll, David
Dorner, Justin
Dreyfus, Cynthia
Friedli, Russell

Gonzalez-Rivera, Melenio -

Grayson, Seywood
Greussing, Jennifer
Grider Bruce
Grider, Anthony
Grochowski, Jean

. Hagie Pat

Hammermik, Christopher
Hamsing, Caroline
Harris, Kenneth
Horvath, James
Hubbard, James
Hughes, Cindy
Johnson, David
Joyner, Jeff
Kaniewski, Martha
Kay, Sandy
Kohnke, Tiffany
Kosnicki, Michael
Kuligowski, Leslie
Kuykendall, Calvin
Lambert, Gerald
Maylioa Terry
McNealy, Willie

December

Adkins, Willie
Altman, Lester
Antezak, Wayne
Avant, Anthony
Bell, LeRoy
Bestland, Michael
Brewer, Jeffery
Carr, Gregory
Cribb, Molly

Curry, Joann
Davenport, Ronnie
Dayksira, Ronald
Doll, David
Dorner, Justin
Dreyfus, Cynthia
Friedli, Russell
Gonzalez-Rivera, Melenio
Grayson, Seywood
Greussing, Jennifer
Grider Bruce
Grider, Anthony
Grochowski, Jean
Hagie Pat ©
Hammernik, Christopher
Hamsing, Caroline
Harris, Kenneth
Hendy, Monica
Horvath, James
Hubbard, James
Hughes, Cindy
Johnson, David
Joyner, Jeff
Kaniewski, Martha
Kohnke, Tiffany
Kosnicki, Michael
Kuligowski, Leslie
Kuykendall, Calvin
Lambert, Gerald
Mayloa Terry
McNealy, Willie

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 6 of 93 Document 12-2
New Samaria Rent Rosters 2008

October

Miles, Patti
Milligan, Jason
Moore, Patrick
Morgan, Alma
Morgan, Freda
Morgan, Michael
Morrone, Carl
Moua, Keu

Nedd, William Jr
Negron, Angel
Nelson, Alvin
Nicholson, Julie
Norwood, Mone'y
Olson, Larry
Peterson, Bruce
Reese, William (Bill)
Richardson, Lauren
Raberts, John
Scaniffe, William
Schmidt Paul
Seaberry, Joseph
Shaw, Michael
Shoffner, Sharaf
Smith, Robert
Stovall, Ruth
Trammell, Larry
Weakly, Richard
Yancey, Janice

- Zapolski, Cathrine

November

Meyer, Margaret
Miies, Patti
Milligan, Jason
Moore, Patrick
Morgan, Alma
Morrone, Car!
Moua, Keu
Murphy, Checo
Nedd, William Jr
Negron, Angel
Neison, Alvin
Nicholson, Julie
Norwood, Mone'y
Olson, Larry
Peterson, Bruce
Reese, William (Bill)

Richardson, Lauren -

Roberts, John
Schmidt Paul
Seaberry, Joseph
Shaw, Michael
Shoffner, Sharaf
Smith, Robert
Spychala, Mathew
Stovall, Ruth
Weakly, Richard
Wiggins, Eddie
Yancey, Janice

Zapoiski, Cathrine —

December

Meyer, Margaret
Miles, Patti
Milligan, Jason
Moore, Patrick
Morgan, Alma
Morrone, Carl
Murphy, Checo
Nedd, William Jr
Negron, Angel
Nelson, Alvin
Nicholson, Julie
Norwood, Mone'y
Oison, Larry
Peterson, Bruce
Reese, William (Bill)
Roberts, John
Schmidt Paul -
Seaberry, Joseph
Seaberry, Joseph
Shaw, Michael.
Shoffner, Sharaf
Smith, Robert _
Spychala, Mathew
Stovall, Ruth.
Weakly, Richard
Yancey, Janice
Zapoiski, Cathrine

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 7 of 93 Document 12-2
West Samaria Rent Rosters 2008

January

Achilles, Joan
Altman, Lester
American Red Cross
American Red Cross
Antczak, Wayne
Barken, Marie
Beaity, Jessie
Bishop, Louise
Blanek, L

Bohanan, William
Brewer, Jaqulyn
Brown, Anthony
Budski, John
Buereth, Joseph
Caraway, Carolyn .
Curry, Joann
Demming, Mary:
Fifer, Danita

Fry, James
Grayson, Seywood
Gulliford, Inez
Hammerer, Dennis
Hammernik, Christopher
Johnson, LaBryant
Kidd, Tamara

Mahr, Wayne
Massino, John
McBride, Mark
McCarthy, Suzy
McCormick, David
Milw. Co. Menta! Health Div.
Monroe, Josh
Murillo, Juana

Neal, Curtis

Noack, Otto

Ott, Gabriel

Pray, Dean

Radtke, William
Rayford, Patricia
Richardson, Lauren

Case 2:12-cv-00216-CNC

February

American Red Cross
American Red Cross
Antezak, Wayne
Barken, Marie
Beatty, Jessie
Brewer, Jaqulyn
Brown, Anthony
Budski, John
Buereth, Joseph
Caraway, Carolyn
Demming, Mary
Fifer, Danita

Fry, James.
Grayson, Seywood
Gulliford, Inez
Hammerer, Dennis

Hammernik, Christopher

Kidd, Tamara
Letterman, Ernest
Mahr, Wayne
Massino, John
McBride, Mark
McCarthy, Suzy
McCarmick, David

Milw. Co. Mentai Health Div.

Monroe, Josh
Ott, Gabriel
Project Access
Rogge, Jill
Rowden, Patricia
Shaw, Michael
Stovall, Ruth
Strasser, Esther
Teague, Willie

Washington, Herman

March

American Red Cross
American Red Cross
Beaity, Jessie
Bohanan, William
Demming, Mary
Fifer, Danita
McBride, Mark

Milw. Co. Mental Health Div.
Monroe, Josh

Ott, Gabriel
Strasser, Esther
Urban, Paul

 

Filed 01/11/13 Page 8 of 93 Document 12-2
West Samaria Rent Rosters 2008

January February March

Rivera-Zayas, Laura
Rogge, Jill
Rowden, Patricia
Schoenfield, Anastasia
Shaw, Michael
Stovall, Ruth
Strasser, Esther
Teague, Willie
Torres, Maria & Richard
Urban, Paul

_ Velazquez, Reyna
Washington, Herman

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 9 of 93 Document 12-2
West Samaria Rent Rosters 2008

April May dune
American Red Cross American Red Cross American Red Cross
Milw. Co. Mental Health Div. American Red Cross _. _ American Red Cross
American Red Cross American Red Cross

Milw. Co. Mental Health Div Milw. Co. Mental Health Div.

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 10 of 93 Document 12-2
‘West Samaria Rent Rosters 2008

April May June

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 11 of 93 Document 12-2
West Samaria Rent Rosters 2008

July August September
American Red Cross American Red Cross American Red Cross
American Red Cross Milw. Co. Mental Health Div. American Red Cross
Milw, Co. Mental Health Div, Milw. Co. Mental Health Div.

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 12 of 93 Document 12-2
West Samaria Rent Rosters 2008

July August September

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 13 of 93 Document 12-2
West Samaria Rent Rosters 2008

October November December

American Red Cross
Milw. Co. Mental Health Div.

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 14 of 93 Document 12-2
West Samaria Rent Rosters 2008

October November December

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 15 of 93 Document 12-2
Tri-Corp Housing, Inc

 

 

 

 

 

 

 

   

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 16 of 93 Doc
 

 

 

 

 

Tri-Corp Housing, inc is a non-profit organization formed in January of 1998 through the
merge of three existing non-profit corporations. These are South Community Organization

(SCO), Housing With help (HWH), and Southeast Affordable Housing Corporation (SAHC). The
Board of Directors of these entities took this pioneering initiative in the belief that they would be
able to provide more and better services collectively than they would individually to Milwaukee
area men and women in need of assistance.

SCO, SAHC and HWH have retained their respective identities as program areas of Tri-Corp and
continue to emphasize those areas of activity in which they excel and of which they have become
known. Among these are the provision of quality housing for defined groups — low and moderate
income persons, and those with special needs due to mental or physical infirmities.

South Community Organization (SCO) is a traditional neighborhood based
organization providing services to the south side of the City of Milwaukee. Formed in 1976 and
incorporated as a non-profit in 1977, major programs include housing rehabilitation, support
groups, youth services, and community outreach.

Southeast Affordable Housing Corporation (SAHC) is a non-profit .
development corporation focusing on affordable housing. Incorporated in 1991 by the Milwaukee
Archdiocese of Milwaukee, SAHC specializes in creating multi-family housing units in
Milwaukee County suburbs.

Housing With Help (H WH) is a non-profit corporation that specializes in providing
supportive housing for Milwaukee’s disadvantaged citizens. Formed in 1977 and incorporated as
a non-profit in 1991, HWH manages two multi-family facilities which provide housing to 167
individuals who are developmentally disabled, chronically mentally ill, or frail eiderly
individuals.

Mission Statement

Tri-Corp Housing, Lnc. is a non-profit organization committed to providing quality
housing at an affordable price to low and moderate income individuals and those with special
needs in the greater Milwaukee area. Tri-Corp’s goal is to strengthen communities by providing
social, civic, community development and special event programming.

Vision Statement

Tri-Corp Housing, Inc. believes that every individual has the right to quality housing at
an affordable price. Our goal is to enhance neighborhoods, and provide social, and civic programs
as well as special event planning. Tri-Corp will perform in a manner that is sensitive to the needs
of our clients, consistent with the intent of our donors, and respectful of our mission

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 17 of 93 Document 12-2
 

 

 

 

 

Following on the landmark success of our clustered projects known as Harnischfeger
Homes, and our homes on 38" & Silver Spring, Tri-Corp broke ground on its third such
project in 2005. Located south of Lincoln Avenue, on Layton Boulevard, on Milwaukee’s
south side, this effort resulted in the transformation of an abandoned parking lot into four
new homes, three of which were sold to low/moderate income owner occupants by years

end.

 

This project resulted in over
$800,000 being invested in this
near south side neighborhood and
increased the tax base of the City of
Milwaukee by $560,000. Of the
$800,000 invested in this
neighborhood, over half of it was
spent on local contractors who
finished the homes on our behalf.

In addition to our “new construction” efforts, Tri-Corp also completed five rehab projects
in 2005 and had soid three of them to owner occupants by years end. These proj ects were

scattered throughout the City and ranged from North 38" Street to South 15

To add to these efforts, Tri-Corp broke
ground on its first suburban “new
construction” effort. Two homes located in
West Allis, were set late in 2005.
Construction was targeted to be complete
by the end of 2006. To offer “home
ownership” opportunities for low or
moderate income families, in good
neighborhoods was the goal of the project.
Tri-Corp plans many more such efforts for
the future.

Street.

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 18 of 93 Document 12-2
 

 

 

 

 

Tri-Corp was actively involved in managing its two facilities for supportive housing in
2005. Totaling 167 units, our Samaria campuses, continued to provide housing for
individuals who are developmentally disabled, or suffer from physical disabilities and
also had a chronic mental disease. Our Samaria campuses provided some of the best
housing options for individuals in Milwaukee County who suffered from these
debilitating illnesses.

Tri-Corp administered all of our activities from our administrative office located at New
Samaria in the City of West Allis. Property management offices were also maintained at
our southside location on 8" & Mitchell and our Oak Creek location on Wildwood Drive.
Our southside office managed 137 units of housing that are located in the Cities of
Milwaukee, South Milwaukee, Cudahy, and West Milwaukee. Our Oak Creek office
managed 104 units of housing in the City of Oak Creek. All of our projects are desi gned
to provide quality rental opportunities for individuals and families who meet low income
guidelines.

Tri-Corp also continued to manage 8 units of housing for a sister organization known as
Home Sweet Home. These 8 units of housing are targeted at individuals who suffer from
a chronic mental iliness but are capable of independent living.

A variety of funding sources were utilized in the creation and management of these
multiple projects. Our portfolio i is comprised of housing that was created using Section 42
tax credits, HUD 811 fimds, HOME Funds and Community Development Block Grants.

During 2005, Tri-Corp continued its new focus on the creation of home ownership
opportunities for our many tenants. During 2005, 27 units of our scattered site portfolio
were sold to low income owner occupants. In most cases these homes were sold to the
individuals who had been long term tenants of Tri-Corp. Our Home Purchase Counseling
efforts qualified most of these individuals to purchase their homes and assisted them in
locating and securing financing for the purchase.

Residents of New Samaria open Christmas
gifts donated by the Giving Tree at our
Resident Christmas Party.

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 19 of 93 Document 12-2
 

 

 

 

 

2005 saw many special events planned and carried out for the clients and membership of
Tri-Corp. All of the events were planned and carried out to further the mission of Tri-
Corp as it repositions itself to better meet the needs of our many clients

 

Summer youth volunteers cleanup a site at one of Children of members and guests play games at
our construction projects our summer picnic

 

Children paint Halloween themes on Mitchell
Street windows. 95 children participated in the
25" annual event.

The kindergarten class of Lakeview Elementary
School entertain residents at New Samaria

These events, plus groundbreakings, our Annual Dinner, United Way Week of Caring, and
our Annual Meeting held at our Christmas Open House at New Samaria highlighted a very
active year for Tri-Corp.

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 20 of 93 Document 12-2
 

 

 

 

Assets

Cash and cash Equivalents
Investments —

Other Current Assets
Restricted Assets

Property and Equipment

Other Assets

Less Accumulated Depreciation

Total Assets

Liabilities and Net Assets
Accounts payable
Accrued Wages

Line of Credit

Deferred Revenue
Current Maturity of Long Term Debt
Other Accrued Liabilities
L/T Debt Less Current Maturities -

Total Liabilities
Net Assets - Unrestricted

Income

Grant and Support Revenue

Rent

Contributions

Service Contract Income
Investment Income

Home Sales and Development Fees
Investment in Related Entities

Total Income

Expenses
Program Services
Administrative Services

Total Expenses

Net Assets at Beginning of Year
Net Assets at End of Year

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 21 of 93 Document 12-2

2003

197,519
992,330
532,950
7,394,645
1,032,886
1,788,579

$8,361,751

362,250
13,539
75,992

265,970

426,000

945,873

5,698,484

$7,788,108
$ 573,643

622,338
1,521,029
3,336
64,031
3,766
1,274,020

(232,361)

$3,256,159
3,817,993
296,879

$4,114,872

$1,432,356
$ 573,643

2004

$ 129,530
318,818
866,869
535,461

7,763,613
1,687,733
1,739,913

$9,930,276

305,630
43,516
224,110
222,115
768,629
1,105,657
5,828,263

$8,497,920
$1,432,356

1,134,510
1,545,388
7,650
160,775
61,004
1,730,543
( 1,012)

$4,638,858
4,813,126
349,531

$5,162,657

$1,956,155
$1,432,356

 
2005
Tri-Corp Board of Directors

President: Cynthia Dodge
Vice President: Eddie Paez
Secretary: Judi Keller
Treasurer: Joseph Henika

Ed Alarupi
Cynthia Cullinan
Judi Free
Margarita Garcia-Guerrero

John Machulak
Florence Piesser

Gladys Roszak

Mary Louise Stenger

Executive Director: Michael S. Brever
Associate Director/CFO: Marie Banach

   

United Way
of Greater Milwaukee

Tri-Corp Housing, Inc. is proud to be a United Way Agency

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 22 of 93 Document 12-2
 

 

 
Tri-Corp Housing, INC. is a non-profit organization formed in
NEVE ROME Ch net e aR Rice RCM CR oC Re ea organizations. These
are South Community Organization (SCO), Housing With Help (HW), and 6
Southeast Affordable Housing Corporation (SAHC). The Board of Directors of also
entities took this pioneering initiative in the belief that they would be able to provide
more and better services collectively than they would individually to Milwaukee area :
AIAMETeMUe Mc URNS Cee T cic nece . . a

-§CO, HWH, and SAHC have retained their respective identities and continue to... .
emphasize those areas of activity in which they excel and for which they have
-become known. Among these are the provision of quality housing for defined _
groups-low and moderate income persons, and those with special needs due to -
mental! or physical infirmities. .

The three divisions also contribute to a series of larger goals targeted by the board of .
Tri-Corp Housing. Among those are the development and provision of social
services for young people; taking an active role in community efforts to reduce the
Mx =o MO MAb e PRC ULCER Lec bee CLaLe) encouraging individuals’ self-reliance
through Tri-Corp’s support of better education and job training that will equip people
to' improve their employment opportunities. a

South Community Organization (SCO) is a traditional mei seneece

based organization providing services to the south side of the city of Milwaukee.
Formed in 1976 and incorporated as a non-profit in 1977, major programs include.
housing rehabilitation, support groups, youth services, and community outreach.

Southeast Affordable Housing Corporation (SAHC) is a non-profit
development corporation focusing on affordable housing. Incorporated in 1991 by
the Archdiocese of Milwaukee, SAHC specializes in creating multi-family housing
units in Milwaukee County suburbs. . .

Housing With Help (HWH) is a non-profit agency that specializes in providing .
supportive housing for Milwaukee’s disadvantaged citizens. Formed in 1977 and
incorporated.in 1991 as a non-profit, HWH manages NOM Agle] ieee tal IN lke) el=18 (ics met
Milwaukee’s west side. These facilities provide housing to 180 developmentally ©. -
disabled, chronically mentally ill, or frail elderly individuals. oe

Document 2-

 
e &
Tri-Corp Housing, Inc.
6700 W. Beloit Road West Allis, WI153219 414/328-0800 fax 414/328-0983
www.tricorphousing.org

Letter From the President

The 2004 Program Year was very exciting for Tri-Corp. Projects such as our Harnischfe-
ger Homes effort and our economic development efforts with the Bay View Business
Association came to successful conclusions. Tri-Corp also expanded our “new construc-
tion” efforts to 38" & Silver Spring and by years end we were building 4 new homes on
27° and Lincoln on Milwaukee’s south side. These projects and many others kept our
Board, staff and our many volunteers very busy during the course of the year.

am pleased to report that we have settled into our new home at New Samaria. We be-
lieve that this location allows us to focus on the future rather than dealing with the many
issues that confronted East Samaria. We are also pleased that this new location provides
us an opportunity to expand our efforts and rededicate ourselves to the spirit of volun-
teerism that 1s a hallmark of our agency. .

"2004 also saw that Board of the agency focus on the future of Tri-Corp by-updating and
modifying as necessary our 5 year Strategic Plan. This document is the blueprint for the
future as we identify and engage the many issues that will forge our future. Issues such
as diversifying our funding base, expanding our volunteer efforts, and increasing our ef-
forts in fundraising are all tasks that have been identified with the goal towards creating
lasting solutions.

Consistent with this diversification of our funding base, we are pleased to state that by
years end, Tri-Corp was deeply involved in our first new construction efforts in the City
of West Allis. We believe that this new venture will not only broaden our funding base,
but reduce our dependence on traditional funders, and it will also bring a unique new
concept to our programs that the Board has worked on for several years. Tri-Corp be-
lieves that the key to providing upward mobility for low income families is to provide
quality housing and home ownership opportunities in areas of expanding job bases and
growing housing markets.

We are grateful to our many volunteers and benefactors who have made these things
possible. With the continued support of these dedicated individuals and institutions, Tri-
Corp will remain strong and continue to grow. While 2004 was an excellent year, we
still have much that needs to be done. With the leadership of our Board, the dedication
of our staff, and the willing attitude of our many volunteers, I am sure that then future is
very bright. .

‘Sincerely,
Cynthia Dedge

President
Case 2:12-cv-00216-CNC Filed 01/11/13 Page 25 of 93 Document 12-2
Economic Development

n 2004, the City of Milwaukee again awarded Tri-Corp an INRS Grant for neighbor: ’”
hood revitalization. INRS, or Integrated Neighborhood Revitalization Strategies, al-
lows Tri-Corp to educate and encourage businesses and residents to improve their

properties by making ussipy the programs promoted and grants given out by the City

of Milwaukee.

 

    
 
  
    
 
 
   
   
   
     
 

along Kinnickinnic Avenue from mh
Grants, RIF Grants, and low inte
their buildings and buy or 4 mod:

residential aréas as ac
{grants that.were,s
peices with the,

    
 

  
  
   

he vitalize their, neighborhoods, As in the pe
iness Asst lation, neighborhood group: :
| Many | new businesses a

a a

  
   
 

i

Kie-

ees

Tri- -Corp also spent many hours: ssisting érganizations j
formed Bay View Neighborhood| Association y workéd t vk
and to promote the Bay View community. This organization
View Bash. Forward Bay View also | entered if’s inaugural year i
group was to prdfriote ‘the businesses located i in Bay View. ra
zation, helping | it create its bylaws and logo, cleckiofticers, ane :

re

  
   

* Dobument 12-2
 

 

Housing Rehabilitation -

ri-Corp had completed work on its landmark project known as Harnischfeger

Homes by the close of 2004. This development of 11 new homes—built using

modular construction—had resulted in 11 new “low/moderate income” home

owners on one block on Milwaukee’s south side. Each of the 11 homes were

completed and sold to owner occupants by
years end. In addition to the owner occupancy opportuni-
ties, Harnischfeger Homes increased the tax base of the
City of Milwaukee by over $1.3 million.

Tri-Corp also started and completed its second major
“new construction effort’: the building of 3 new homes on
North 38th Street and West Silver Spring Drive. These
homes were completed by years end and sold to owner
occupants. In addition to these homes, the construction
of 4 new homes on South 27th Street and West Lincoin
Avenue had begun. By the end of 2004, the first house
had been set, and the remaining homes were under
“factory construction’.

 

N. 38th St. and W. Silver Spring Dr.

Progression of Housing Renovation To add to these strides, Tri-Corp was also
broke ground on its first suburban effort in
affordable owner occupancy. Tri-Corp had
acquired a parcel of land in the City of
West Allis and made preparations to build
2 new homes at

 
   
 

 

 

 

 

will create an entirely new market for
Tri-Corp and offer low income families ad-

Me

a og Units Lots ted that location with
= ~ hits Complete hopes that

5 CO

S ons Sold forOwner | suburban

z. pancy neighborhoods
2

 

2000. 2001 2002 2003 2004

ditional opportunities to become owner occupants.

Efforts to rejuvenate the housing stock of the City of
Milwaukee through Tri-Corp’s “acquisition/rehab”
efforts continued in 2004. Seven homes were _ pur- i
chased and rehabilitated in 2004. Tri-Corp staff ac-
tively worked on an additional 12 units of housing.

 

 

Arlington Heights

 

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 27 of 93 Document 12-2
 

~Property Management

ri-Corp settled into its home at New Samaria in 2004. This facility, the former
 .Saint Joan Antida nursing home, was a bold new direction for our residents in-
“ ones in supportive housing. Seventy-Five individuals living at New Samaria

 
 
    
   
   
  
   
   
 
 
 
 
 
 
 
   

its administrative offices to New ‘Samaria and settled i int ‘during the 2004
Corp: bontinued to retain anv fice at 1635 S. 8th Street. The" Corps a ac-

Ss.
jem"
gare
se
o
oo
-S
a
3
<=
2
<
o
oo
=e
se
® *
oO
Sn
@
seb]
of
°
we}
uF]
~
2.
a
D
=
&
a
®
3
@
3
=
~o°
—
yh
Ox
O¢
=a f
2.
on
2 &
o
>

  

 

 

(hese 2 offices weré
aisred site as well a

 

_Units Mana di in 2004- ~

  
  
  
 
   

 

;
Units Managed for Peer

a "Agenci ies
a

ECivic Arms / Packard Hall

. 104 cesussistoetesssennmelll CHEITY Creek View
Apartments

5 fl Scattered Site Units

 

  

West and noel

 

 

 

 

Case 212-CtV-002Z16-CNC” Filed O1/TT/IS™ Page 28 of 93~ Document 12-2
Speciai Events

004 saw many special events planned and carried out for the clients and member-
ship of Tri-Corp. All of the events were designed to further the mission of Tri-Corp
as well as provide an opportunity for the community at large to gain greater knowl-
edge of the activities and programs of Tri-Corp.

  
     
 
   
 
 

As in previous years, Tri-Corp hosted
that they build their program year
Summer Picnic was held July 17,
2004 at Manitoba Park. October
brought the 23rd Annual Window
Painting Contest which was again
held on Mitchell Street. The Tri-
Corp Annual Dinner was held at the
Best Western Conference Center on
November 6, 2004. Senator Jeff Pale
served as the keynote speaker. The achieve-
-ments of the New Samaria Advisory Committee were honored
with Tri-Corp’s “President's Award”. Select Milwaukee was
presented with Tri-Corp’s “Program Award” and Ms. Jean Leslie
of Habi- g tat for Humanity received the “Community
Ser- @

and sponsored the 3 events
around. The Tri-Corp

  
  
 
  
  
   

_ Tri-Corp also added new functions to their list of special
events which deserve recognition. On May 21st
Tri-Corp held ah Open House at New Samaria in
honor of Mental Health Awareness Month. On
June 1st Tri-Corp.hosted the South Milwaukee
Lakeview Elementary School Kindergarten
‘class who entertained New Samaria residents

Spring Program.

  

with their

  
  
  
 
  
  

On September 14th, %
hosted a contingent of
unteers for their “Day of
Tri-Corp held a client picnic at New Samaria while a contin-
gent of volunteers cleaned West Samaria from top to bot-
tom and landscaped the exterior of the building.

Tri-Corp again
United Way vol-

In November, Tri-Corp hosied a groundbreaking at their
new development site called L.A. Homes. The project in-
volved constructing four new single family homes on South
27th Street, immediately south of Lincoln Avenue. Alderman
Donovan, Mayor Barrett, and State Assemblyman Jesh
Zepnick assisted in the celebration. Last, but certainly not least,
was an event that is fast becoming an annual tradition at Tri-Corp: the
Christmas Open House at New Samaria.

Each of these events highlight the success of Tri-Corp as well as provide opportunities for the

community at jarge to participate in their many efforts.
Case 2:12-cv-00216-CNC Filed 01/11/13 Page 29 of 93 Document 12-2
 

— Financial Information: Balance Sheet ——

Cash & Cash Equivalents
Investments

Other Current Assets
Restricted Assets
Property & Equipment
Other Assets
Accumulated Depreciation

Total Assets
Liabilities

Accounts Payable

Accrued Wages

Line of Credit

Deferred Revenue

Current Maturity of L/T Debt
Other Accrued Liabilities

LAT Debt Less Current Maturities

Total Liabilities
Net Assets
Unrestricted
Restricted

Total Net Assets

Total Net Assets & Liabilities

127,805
318,818
2,393,574
643,674
6,771,837
1,386,769
1,739,913

9,902,501

305,631
27,258
224,110
222,115
973,554
204,183
6,512,282

8,469,133

1,433,368
0

1,433,368

9,902,501

254,215
575,003
2,383,653
370,882
6,592,486
1,645,553
-1,519,038

10,302,754

347,785
12,242
224,110
372,395
868,128
1,144,342
5,377,597

8,346,599

1,956,155
0

1,956,155

10,302,754

 

Case 2:12-cv-00216-CNC

Filed 01/11/13 Page 30 of 93 Document 12-2

 
Financial Infor, .ation:

Income

Grant & Support Revenue

Rent

Contributions

Service Contract Income
investment Income

Home Sales & Development Fees

Total Income

Expenses

Program Services

Administrative Services

Total Expenses

Change in Net Assets
Net Assets at Beginning

Net Assets at End of Year

2004 Income

  
  
 
 
   

‘home sales
and =
developmet

grant and
support
revenue

contributions ~,

investment
income ~— sence

contract

. rent
income

Income —. Expenses

2004 2003
4,508,215 1,077,626
1,537,737 1,778,065
7,650 18,778
4,739 88,000
7,333 53,936
4,600,178 5,578,122
4,665,852 8,594,527
4,813,126 7,920,073
375,513 577,469
5,188,639 8,497,542
-522,787 96,985
1,956,155 4,859,170
1,433,368 1,956,155
_ 2004 Expenses
administrative .

services

   
 

program

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 31 of 93 Document 12-28ervices

 
ae

ni
pas

South Community
Organization, Inc.

Management Staff

Program Staff

Support Staff

4 Board of Directors

 
 
 

 
 

 
 

ing, In

& Sa

Case 2:12-cv-00216-CNC_ Filed

 

Page 35 of 93

  
   

Document 12-2

 

 

 
  

Tri -Corp Housing, INC. is a non-profit organization formed in January of J
4998 through the merge of three existing non-profit organizations. These are South
Community Organization (SCO), Housing With Help (HWH), and Southeast Affordable

| Housing Corporation (SAHC). The Board of Directors of these entities took this pioneering
initiative in the belief that they would be able to provide more and better services collectively
I than they would individuaily to Milwaukee area men and women in need of assistance.

 

 

 

 

 

 

 

 

SCO, HWH, and SAHC have retained their respective identities and continue to emphasize
those areas of activity in which they excel and for which they have become known. Among
these are the provision of quality housing for defined groups-low and moderate income

| persons, and those with special needs due to mental or physical infirmities.

 

 

 

 

 

 

The three divisions also contribute to a series of larger goals targeted by the board of

| Tri-Corp Housing. Among those are the development and provision of social services for

young people; taking an active role in. community efforts to reduce the presence of drugs,

| crime, and violence; and encouraging individuals’ self-reliance through Tri-Corp’s support of
better education and job training that will equip people to improve theiremployment —~

opportunities.

 

 

 

  
 
 

 

South Community Organization (SCO) is a traditional neighborhood-based
organization providing services to the south side of the city of Milwaukee. Formed in 1976
| and incorporated as a non-profit in 1977, major programs include housing rehabilitation,
support groups, youth services, and community outreach. .

 

   
 

 

 

Southeast Affordable Housing Corporation (SAHC) is a non-profit

| development corporation focusing on affordable housing. Incorporated in 1991 by the
Archdiocese of Milwaukee, SAHC specializes in creating multi-family housing units in
| Milwaukee County suburbs.

 

 

 

 

 

 

 

Housing With Help (HWH) is a non-profit agency that specializes in providing
supportive housing for Milwaukee's disadvantaged citizens. Formed in 1977 and
incorporated in 1991 as a non-profit, HWH manages two multi-family properties on

Milwaukee’s west side. These facilities provide housing to 180 developmentally disabled,
chronically mentally ill, or frail elderly individuals.

 

 

 

 

 

   
  

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 36 of 93 Document 12-2

 
 

 

Tri-Corp Housing, Inc.

6700 W. Beloit Road West Allis, W1 53219 414/328-0800 fax 414/328-0983

Letter From the President

The 2003 program year was very exciting for Tri-Corp. Projects such as our Harnischfeger Homes
effort and our move to New Samaria kept the Board, staff and our many volunteers very busy. We
believe that these efforts have created a future for Tri-Corp that is bigger, better, and holds more
promise than ever before.

Our move to New Samaria in October was the culmination of over 18 months effort. This new
home for our supportive housing efforts and our administration creates an opportunity for us to
focus on the future rather than dealing with problems of the past. The move also gives us an
opportunity to rededicate ourselves to the spirit of volunteerism that is a trademark of our agency.
Our newly formed New Samaria Community Advisory Committee and the many social
opportunities that are offered for our residents are staffed by neighborhood volunteers.

2003 also saw the Board of Tri-Corp adopt a five year Strategic Plan, This document will become
the map that guides us as we focus on the future of our agency. The Board has set a course for
_ Tri-Corp that is bold, innovative and capitalizes on the strengths of Tri-Corp while working to
eliminate our weaknesses. As 2003 came to a close, we were focusing on new programs in senior
citizen housing, economic development, and the creation of scattered site modular housing. All of
these efforts were significantly highlighted in our Strategic Plan.

We are grateful to our many volunteers and benefactors who have made these things possible.
With the continued support of these dedicated individuals and institutions, Tri-Corp will remain
strong and continue to grow. While 2003 was an excellent year, we still have much that needs to
be done. With the leadership of our Board, the dedication of our staff, and the willing attitude of
our volunteers, I am sure that the future is very bright. .

Edward Alarupi
President

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 37 of 93 Document 12-2
 

 

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 38 of 93 Document 12-2

 
 

Units/lots acquired
Units completed
LE Units sold for owner

occupancy

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 39 of 93 Document 12-2
 

Property Management

Tri-Corp Housing, Inc.
~ dramatically altered its
service provision to
(Bg Housing With Help (HWH)
_ residents in 2003. Following
sm over one years effort,
y (ri-Corp successfully
completed the purchase of
meee. the former St. Joan Antida
Nursing Home located on 1 South e7th Street and Beloit Road in West Allis. During the summer
of 2003, Tri-Corp invested over $500,000 in making the facility, which was renamed New
Samaria, suitable to the needs of HWH residents. On September 10th, residents were moved
from the former facility, East Samaria, to their new home in West Allis. Tri-Corp aiso sold East
Samaria in 2003. Tri-Corp moved its administrative headquarters from 1635 S. 8th Street to
New Samaria in October.

 

Tri-Corp Housing, Inc. ended its contractual relationship with Westside Housing Cooperative
(WHC) on December 1, 2003. From January 1, 2000 through December 31, 2003, Tri-Corp
assisted WHC in‘ downsizing their portfolio by 230 units. The primary disposition for the sold
units was “owner occupancy”. With a grant received from Local Initiatives Support Corporation,
Tri-Corp was able to direct a financial review of the Westside Housing Cooperative financial
accounts. in addition, 14 families received assistance in purchasing homes with grants from the
Federal Home Loan Bank of

Chicago. Tri-Corp was Increased Owner Occupancy at Westside Housing
concluding efforis to rehab 9 Cooperative

other WHC homes using grants
from the HOME Funds Program
of the City of Milwaukee. By the

: ; 300 ¢
close of 2003, Westside Housing 50
Cooperative was managing their
: : : 200 .
own affairs having hired an Number of | “@ Units Sold
Executive Director. Units 400 “EF WHC Units
50
0

 

1/2000 12/2000 42/2001 12/2002 12/2003

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 40 of 93 Document 12-2 |

 
 

 

2

12-cv-00216-CNC Filed 01/11/13 Page 41 of 93 Document 12

Case 2
 

 

Volunteer Programs

Volunteers of all ages donated their time to Tri-Corp Housing, Inc. in 2003. These
volunteers came to Tri-Corp through programs like the United Way's Day of Caring,
Youthworks!, and the Thomas More Senior Service Project. A variety of area residents
also donated their time and energy to Tri-Corp. The volunteers assisted in cleaning up
and rehabilitating properties for SCO, SAHC, and HWH in addition to running
recreational programs for Housing With Help residents. Many of these volunteers also
participated in the Great American Clean-Up in Bay View. Volunteers took part in “one
day” programs such as the Bay View Spring Clean-Up and the move of Housing With
Help residents fromm East Samaria to their new home at New Samaria.

A volunteer with particular expertise in computers assisted Tri-Corp staff in designing
and uploading our www.tricorphousing.org website. This new addition to our Tri-Corp
outreach efforts contains information pertaining to our rehab projects, new construction
programs, community calendar of events, our rental portfolio, and an e-mail rolodex for
every member of the Tri-Corp administrative staff. Information, photos and a general
listing of Tri-Corp offices make this an informative ahd useful tool for individuals
wishing to learn more about Tri-Corp.

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 42 of 93 Document 12-2

 
    

7 at kg tk cat
= Gi * Ne it eT Nw NA NA Ne OM MPO OOO Or NON Nr NR ON ON SSN Nr Sr Nr ON NN NN tee

  

Counseling and Advice Services

South Community Organization and Housing With Help offer a variety of counseling and
advice services.

Success of Home Buying Seminars

There are three programs that

South Community Organization 460
focused on: Home Buying 440
Seminars, Post Purchase 420
Counseling, and the Caretakers of 400
the Elderly Support Group. Both 80
the Post Purchase Counseling 60 F
and Home Buying Seminars 40
continued to see great success in 20 f

2003. ok :
4999 2000 2001 2002 2003

   

Number of Families

 

ee Re oan

Post Purchase Counseling
Participants

The Caretakers of the Elderly, a program
in its 22nd year, continued to meet at St.
Francis Hospital's Education Center.
Caretakers of the Elderly offered support
to individuals who are responsible for an elderly individual.

 

Number of Families

2000 2001 2002 — 2003

Housing With Help, as previously mentioned, worked with the Milwaukee chapter of the Red
Cross and the Transitional Housing Program. In addition, HWH also worked with advocates from
Set Ministries. Each of these programs had similar goals-medical advocacy, case management,
income stabilization, and a social outlet.

 

 

 

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 43 of 93 Document 12-2
 

 

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 44 of 93 Document 12-2

 
 

ROOF OMY RRP ROO ON Oe

Yr - =F» * » = & & & & B B&B 8 BP RZ AP wy Ou

 

 
 

 

Financial Information: Balance Sheet

        

 

    

Assets 2003 2002

      

     

             
       

Cash & Cash Equivalents $ 254,215 § 259,905
Investments $ 575,003 $ 450,745
Other Current Assets $ 2,383,653 § 5,823,830
Restricted Assets $ 370,882 § $18,296
Property & Equipment $ 6,592,486 $ 6,883,665
Other Assets $ 1,645,553 §$ 1,592,492
Accumulated Depreciation $ (1,519,038) $ (1,901,030)
Total Assets $ 16,302,754 $ 13,627,903

   

Liabilities

  

Accounts Payable $ 347,785 $ 273,036
Accrued Wages $ 12,242 3 46,785
‘Line of Credit $ 224,110 $ 474,110
Deferred Revenue $ 372,395 § 780,696
Current Maturity of L/T Debt $ 868,128 § 3,623,914
Other Accrued Liabilities $ 1,144,342 § 1,323,270
L/T Debt Less Current Maturities $ 5,377,597 §$ 5,246,922
Total Liabilities $ 8,346,599 $ 11,768,733

  
         
           
      
   

 

Net Assets
Unrestricted $ 1,956,155 $ 1,859,170
Restricted $ 0 $ 0
Total Net Assets $ 1,956,155 §$ 1,859,170

 

   

        
 

 

Tota] Net Assets & Liabilities $ 16,302,754 $ 13,627,903

   

 

 

Case 2:12-cv-00216-CNC_ Filed 01/11/13 Page 45 of 93 Document 12-2
 

      

    
   
  

 

 

  

 

 
 
  

   
   
   
   
   
   
  

 
 

 

 

Hore Sales

Financial Information: Income el Expenses.

income . 2003 2002
Grant & Support Revenue $ = 1,0770,626 § 1,551,063
Reni $ 1,778,065 $ 1,883,814
Contributions $ 18,778 $ 3,840
Service Contract Income $ 88,000 $ 159,531
investment Income $ 53,936 §$ (8,428)
_ Home Sales &Develop- $ 5,578,122 § 2,736,075
meni Fees
Total Income $ 8,594,527 $ 6,325,895

    
 

Expenses

 

Program Services $ 7,920,073 $ 5,675,219
Administrative Services $ 577,469 $ 631,000

   
   

Change in Net Assets $ 96,985 $ 1
Net Assets at Beginning $ 4,859,170

A

Total Expenses $ 8,497,542 $ 6,306,219

9,676

1,839,494

Net Assets atEndof Year $ 1,956,155 $ 1,859,170

2003 Expenses

Grant & Support
Revenue

Service Contract
Income

Investment

Contributions Income

ion

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 46 of 93

Administrative
Services.<%

Document 12-2

Program Services

 

 
e

a

we

Se ae

= => ie => = ma lhe

  
 

 

 

   

 

Membership

 

 

Board of Directors

 

 

 

 

Tri-Corp Housing

 

 

 

 

 

Southeast Affordable
Housing Corp.

 

South Community
Organization, Inc.

 

Housing With Help Inc.

 

 

 

 

 

Case 2:12-cv-00216-CNC Filed 01/11/13

Management Staff

 

 

Program Staff

 

 

 

Support Staff

 

 

   
 

 

Page 47 of 93

Document 12-2

 

 
      

  
  

#

 

aErear Ried al chgraeme tbat iaiesemner

 

Case 2:12-cv-00216-CNC_ Filed 01/11/13
‘sjenplApul ASPs 24} JO “Il Aypequeui Aypeaiuosyo “pa|qesip Ayequatudojeaep
AQUUe)-NINLL OM} sebeuew HAH ‘jyoid-uou @ se L6G) Ul payodiooul pure {/ 64 :

OR} 0} Buisnoy apircid saqyors eSeUL "aDIS ISSM S,Sa/NBAjliN| UO sotedoid
ul sezejoeds yeu AoueBe yyosd-uou & SI (HAAH) djeaH YA BuisnoyH,

Ul paulo. “suaznio pebeyueapesip S,sexnemil 30) Bursnoy eamoddns Buipiaoid

we}-ynu Buyeald ul sozyeioeds OHS ‘SaiNeMII JO aseoorpuaiy aul Ad LAGE
ue si (QHYS) UoHesodi0D BuisnoyY sjqeployy WSBIy}NOS

-squngns AjunoD sexyNemji, Ul SHUR Buisnoy All

ul payesodioouy “Buysnoy ajqepioye Uo Buisnoo) ucyesod109 yuawdojeaep pyoid-u0

. . ‘yoeaujno Ayunuiwes
eyes Busnoy apnjoul suueiBoid sofew ‘4/761 Ui Wosd-uou e se pereiodsoou! pue 9/6} Ul Paulos “SeyNEMHAL

pue ‘seoyuas yynoA ‘sdnoiB poddns ‘uoHeyG d J
oid uoyeziueblo paseg-poowogyBieu |BuONpes} @ sl (ods) uoezueBbsc Ayunwiwoy yynoes

jo Ayo ayy JO Apis YNOS SY} O} seolses BuipiA

; ‘gaqunjioddo yUSWAO|Ws Jeu} saosdusl oy ajdoad dinbe qm yeu) Bujurel gof pue uoWBoNps 18y8q 40 poddns s,dio9-121 yBnouy) SouBiel- jes :
_ Syenpiaipul Burbesnooua ple ‘sousjolA pue ‘euULO ‘sBrup jo eoueseid Oy] GoNpes O} SOLS AqjuNuWOS Ul ejo1 eAgoe Ue GUE} ‘gjdoed Bunod JO} seaiuas |e0s

Jo uolsiaqud pue yueuidojenap oy} ae asou) Buouny ‘Buisnopy diog-i | Jo pueog eu} kg pajebie} sjeo8 1eb1e} jo Sayies & O} BNGUIUC OS|e SUOISIAIP S814} SUL

“seul peorsAyd Jo jeyueul

-sdnoiB pauyep Joy Buysnoy Ayyjenb jo uolsiAoid ay} aie SSou} Buoy “LANOLD BLUCIeq ‘

0} anp spesdu je}oeds yy esol} Pu ‘suOSIEd SLUOCOL SJEJGPOLL PUB MO}
anuyuoo puke SehijUSpl sAoedsel Jeu} PEUle}ai BABY 3HyS pub ‘HMH ‘O08

aaey Asuy Yor JO] pue jeoxe A@U} YOIIM Ul AYAgoe jo sees esoy) aziseyduls O}
-OUBISISSe JO POU LU} USLUOM PUP WSL Base SOyNeMIIN O} AWENPIAIDU!
pinom Aeuy UBU) Ajeajoayjoo ad|\les Jajeg PUe aiout epiaoid 0} age ag pjnom Aayy yeu) Joed Oty Ul eaentul Susseucid siyy YOO} SBAHUS SSOU) JO s10jedd
jo pieog eu, (OHS) uoHRiodioD Buisnop a|qepojiy SBaujNos pue “(HAAH) dI@H WA Bursnopy (OOS) uopeziuehic AyuNURUED YNIS Sle esau, "SUO}
uoHezUeBIO ]YOId-UOU SI ‘ 6u isno H d J 0:1! J 1

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 50 of 93 Document 12-2

 
idmuely piempg
[OS seqysEIg 9q 0} amMINy
aif) joadye 0,44 “SassoELyeam INO OIVUTIIYS 0: Sunpiom poe sypFusns ino wo Zmsn90} Aq MOIS W119} STO] JOZ UOLEPUNOT Io pying O04 PenUpWOS ay "read jrysseoons Alaa # sem ZOO “edsonai O]

‘Surmors pur Buogs sn sdaay
yong poddns sr stay ‘Ayamunoo ay wt poy om poddns go oseq aty St diog-1y, Jo Sues sy], “spqissod sFapy osoy spew savy ors sIOyRJZouNg pue sreayMpoA ATER Mo oF PRpSTeIG ore O44

, “SqRaT}9 Mo Jo spast oy 07 jdepe 07 sh SaLOTTE JoWAg pus ‘sane]je 1800 STOUT GusioLye orou st yey diosy-L1], Joy

: ‘sauramioddo juourAoydine Ayyenb Jo sear wr Sursnoy eyqepsoyye apraaid 0] yor Ino w AyMO|D samen] Tata drqsisnyed Summon

-foo Ino syuasaidal os{oid sTyy, “eamemyAY Yynog Jo Ay a0) Ht oloid qagai yxou mo parmbor diop-y 9swsy JOU ApaTELOS Ing 38e'T “SITY 1S9A\, 0] SIVSPHSel NO Badu pUe LUBUIRG Ise [Jos 0}
SB TOS MQ “Ialag aie spy 388, OU} Se BAO suo Bursa eB aseqoInd oy Suydurayye olen 944 “PUD ead FY “BLIBUIES sey Jv syuepIsal Ino Joy auioy ammyny e BO Apuadyip suppioss osye sem
di05-1], ‘soyeroossy wenyodonayy Jo Joumo o1p Jo Aqsosened ayy ySnompy jaudolsaop jueorpMdis v ozipear osye [iM 94s ‘TIJsseo0ns JT “sHaTo Aedes Ino JO} seyTaMyieddo Aouednase Joumo ort
Wows HOYISUEH 0} SRA TeOS MQ ‘soxaydnp gc aseround oj age sem diog-11] ‘spioppuRy ysoBz] 8 ooAMEMITY JO 9U0 ‘soywIOOSsY BEypodoTSYy Jo TONRIedoos sip YsNON|], -SoMOFY ONOPA,,, [JES
yoalord 8 asojo 0} a1qe aIOM OSTY 344 ‘SIE 0} HONOMASUOS ASU UE LOY WoSTIe] Ino sywasordal IW] Ag sm], -,, SeUOY IE|MPOLE,, Mod Mo Jo CT Joy says SUrpying se sates YIM ‘TeUOHeN F Be Aporeua
“18 @ 72 pao] [Je ‘sjeored asayyy, seSapostueE] ] Jossacons ayy ‘eplappo yA sqopy Woy puyy jo saad pz jo uonismboe ay} yy powers dumf{ sem , Souiop{ Josep ypostatey,, Teo 3a Joa ford y

. os “aoqueys jeloads Jue JE]
“normed GF mog ‘UOHTUy 03 sues Aypemy syTOU Ateur JO] BO PaO weaq aaxt Jey seford peroaag “Fursnoyy dioy-1y Jo [eys pue preog a1} Joy ovo yeyMUMUON! B sem IWS OTLISOIY TOOT 94.L

JUSpIselg 3} WO.LY 1359]

ZLOS-EPO XP] » CTGL-CPO © VOTES IM “SONMBATTN, © 190115 wB “S CE9T

‘ou, ‘Bursnoy dsog-y

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 51 of 93 Document 12-2
Se oa Hesbicuen

ana esceer crt
Reser etre
ele yae) MRM Tey i-ralb] 1031 @
Mist itcreh testes

Sneha

Anmednaco

ISWAAO IO} pros situ
paysydimes sym
s]0[/S3f0t

 

2

CNC _ Filed 01/11/13 Page 52 of 93 Document 12

Case 2:12-cv-00216-
SHUN OBL  BUBLUES ISa,AA 9 1885

SHUR LL}
sajoushy 186g

40; pabeuey sun

uoyezuEbiG ,
AyunWILUOD URES

» SHUN FOL
SJUSLUPEdY Mai;
yaan Ausyo

z00z ul pabeuew sun

See bes eer

‘ZOOZ Ul PaSealoui JOIS@ALI Reeatteet set ray ey salen pure Sica ea
Telesis ecole lee OMSL) ease CRs cc i omc ieeie Sela
Sr BULUsicleicie let MPs Orems it cms) ica CHIE LN8]0)23 ayer) Ayugisuo
erate mesiomecosLot ce cmieacrt 10 Td aes Keres ele )aieza han c ei

rN oe od ete STO

Beles BiYAs Es ene Rts h: Mme SIN Bete asd]! Saas ener Zee le

COOTE = LOOZ/e- «= GOO o00z/i.

 

aos Aq

peGeuew suunk
Aovednaaa
Jac

 

 

40) pyos sung

 

aaiesodoosy Bulsnoy opis}say,
ye Aouedn390 49auMO pesesloUj

 

otic oeveRoc ot Wome ie: mmri yore Mitch eo ome ceie

2

CNC Filed 01/11/13 Page 53 of 93 Document 12

Case 2:12-cv-00216
pee we :
‘yeTNG jeros eB pue ‘uoHezZHIGesS

@WOoU! Wueuefeuew eseo ‘AoBooApe [BoIpetw-sjeob seus pey sureiGoid
BSA] JO YORR “SOUIS|UIPA] JOS WO SS}EOAPE YM ParOm OS}e HAAH “UOH
-Ippe uy “weboig Bursnoy jeuoHIsuel) OY) PU SSCID Poy SU} JO deydeus

BoyNeMII\) OU} WIM par.om ‘pauoguat AjsnolAeid se ‘djaH UA Bulsno}4

yenplaipui Apepje ue JO}
ejqisuodse aie
OUM S/ENPIAIPUI
o} poddns pales

2006 L002 . o00¢

 

0 2 40 Auepra eur
§ Z jo sueyeyoieD
oa? "7880 UOHeS

§& — -npg sjeydsoy
ea SiOUBI.j ‘}S JB
o¢ & Ss yoo! 0} PSnuy
82 a -uce UBoA 6 bz

3 su ul wel6o!
a } Ul

B ALapls ey JO
Buyesuney sseyoing ys0g ul uoHEdIOeY SISHEIOIED OUL
eu Bujeq avean spoowogyBieu Sulpunowns

JO spsou au) yeu} Guunsse pue ‘sennp jeosi ‘yes jo Bunly 3y) papnjoul son
-pqisuodsel s,dio5-u4 “sapayoe jeunyno pue ‘suueiBoid Bugiods ‘ye ‘djeu
suomewoy ‘Sulu paysisse-seyndiuco ‘Buyojn] papnjoul sayAyoe eSolj |

 

‘SHNpe pu UNA JO} SeqJAoR Jeuoyeonpe
pue yeuoyeaie! palayo OTD ey} ‘eunr uno Arenuer jo syjuow ely Bunp
Buyeuado apupy (O19) sajus9 Buruses7 AyunWWod scoyog UBI-Y UO}LUELY
UII diysieuped 18y) JO #eOA pully} SY} OFU! Peleus “oul ‘BUISHOL diog-HE

zoo Lo0z a00z 6661

    

 

peyedioned i)

Sseuioy aseyond py 08

OGL
Oe
OFL
O9E

 

 

 

soled FO FeQUINN

‘2002 Ul sseoons JealO ees 0} PaNnuAUCD SIBUILUSS BuiAng

aWO}L pus Buyssuneg sseyond 1S0q oly Og -dnos6 poddns Aveprg Su}
Jo Sseye}BIeO Syl PUB ‘jOOYoS YOIH UOY!IWeL} Jo nc peseq {9°79} saque9 Bul
-wee'] AWUNWIWOD aly ‘BulesUNoD eseyoind }SOq “SIBUILUBS BulAng aor
7uO pasnoo UaHeZIUBHIC APUNLULWOD YINES Jey} suueuold anop o22 e138

sadlaias Huyasunod pue solApe
jo AURA B JeyO djeH UA, Bursnoyy pue uopeziUeBic AyUNWIWOD YyINog

SODIAIBS SOIAPY pue Buljesunod

 

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 54 of 93 Document 12-2
    

“souLIp Buimoljoj dnosB uy peurepoyue eueg wo uBWsseiBuog pue ieyeadg jsand “uo}elSossy
sseuisng malateg au} pue Jalaig ens UBWOAUEp!Y 0] papleme oleMm spremy UTeIGOld GiOD-1LL “SOINN J9 J801HO
@AIINDaXy JaIuD ‘ZeuMey, edn’) 6) UeAIG sem pPueMY aoliag AyUNWOD loO-l] SUL PIBAY BUOISIBUIOH SU}

JO sjusidjoal auam sarelsossy UBPOdOsOYY JO JYOOL| YOBP PUB YIZIY A@IUBIS “SdISWILUOD JO JEqUIeYD ajuedsi-] ay}
M {0 JO}OelIg) SANNOSXy SU} ‘UOseLWIeD-pealuo|y BB 0} U@AIG Sea PIBMYy JUSLUSAJOAU] SIAID dioy-UWL aul “AyuNUWwOO
=| ino jo Ayenb auy eaciduy 0} sHoye Spel BABU yey] SUOREZIUeBIO pue S}eNpPIAPU! JOUCY O} PeyNgUIs|P ques SPIEMe
=] ye19nes SUID OL} Ty ‘1O1UaD AYUNWLUOD YsiOd OU 12 ZOOZ ‘6 JOGLUAAON UO psy sem soUuIC] feNuUUY dioD-H) SuL

  

 

  

 

 

‘ep auy ul eye] pjeu Ayed usemoyepH @ ye sevoBeyeo oBe jo Ajeyen © Ul peynqlisip alem spiemy
“SJUBYDIOLU 88S [|eyoTYY jo SMOPUIM OU} UO SeuNjoid peluely-Usemoyey) Buguied Jeans eyo) peu Leapyyo
SUL ‘ZO0Z ‘BL J8q0}2Q UO \seyUOD Buyureg mopulM UsEMo|e} fenuuly ISL.Z eu} U! Peyedioned UapYO AJeUIN

 

 

 

  

: - ‘S]USPISA] HAAH JO} sweiboid jeuoyeeloe!

SJUSAZ] jeloeds Buyuuns 0} uoIppe Ul HAH PUe ‘OHS ‘OOS 40} semedoid Buneypiqeyes pue dn BuyuBe/s ul pesisse siso]UNjOA
: " dy 1 ‘di0}-U, 0} ABOUe PUR eu) JIEU] payeUOp ose sJuepIsE! Bere Jo AjoLeA Y ‘Slog Sd|AIeg JO;UESg BOW
SeWOUL BU) Pur ‘so1AIeg O1U} Buds ‘INC YoeeY-U] YoRaY ‘Huyeo jo Aeq s,Aeyy parun eu) exy swreiBoid yBnosy
sueibo! qd Jeaiunjoa di05-H] 0} auIe SISTUNIOA BSeUL ‘ZOO UI ‘OUE ‘Bulsnopy dioD-11), 0} ouuH) slety peyeuOp sebe |e Jo SIsa]UN}OA

     

-sueiBold yeloos pure ‘sdul pjalj ‘seqjaqoe peuoneeioal ul peredioied

duieo eu) ul peyolUs UsUP}YS ZZ SUL “UISUODSIAA JO sYE]s au} Aq Ayyioe) eueo Aep eB se pesusoy s} dues yeem-g
SOIIMIOS Ayunwiwog AUL ‘ZOO? Ul UoIeledo jo JBAA YO] SU PeyeIge|s0 ‘OOS Aq paziuefio sem yom ‘dueg Aeq weg eqowuey] oud

  

  

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 55 of 93 Document 12-2
 

76r'6ES'L
90¢'6z9'2
(212'e8z)

yLeo6e'y
ooo'eer
FLE'LS6'e

zoo'a09'e
Los‘9s6

(L0z"e)
£8L'BAE

9020}
SeE'zL9'L
piv'ea2

cd

we

Ceo Oo &

LO0z

obese’) =
verece's §
, G29'6L $
6bz‘o0s's = 3
on0'Lee $
-giz'gz9'g =
sse‘sze'o = $
gio'gese
{gzp'a) $
Les‘6St §
“ope’e $
PiSesB'L = §
eso rss, = $
Z0GZ

sesuedxy pue euloou]

IBAA, JO pug 8 syassy JeN
Buluuibsg ye sjassiy 19
syessy yen Ur aBuey>

sasuadxg [ejo2
SSOAISS SAREHSILILUDY
sees wesboig

sasuedxg

SWCD] [E}OL
BUICSUY JALIO

“BLUOOUI JUSUASBAU|
BLOOM] JOBNUOT Boas

SUOINGRUOD
qweHy
anusaay @ Hoddns yuelsy

auODu}

‘UONBWJOJU] jeEIOURUIS

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 56 of 93 Document 12-2
 

poo‘szo‘oL = $ cog 2g'e: = ¢
Por. uh $ oLLsse'l = $
g809°cz $ 7 $
9e6'919'L 0 OLL‘ege't =

L002 Z00zZ

Z00z }eeYs souRleg [UOMCWJIOJU] |eEIOULUI-]

sJessy ION F SON HIGeNT (IO)

S}OSSY JON JEIOL
payoijsay
DSIOLISeIUy

s}ossy JON

OLL'asz's
O/Z'OLL'Y
BLL Obo'L
s0g'see':
z06'609
OLL Pez
Zg0°EL
ar0'PBe

Poo'sz9'OL
{6ra'Z6l'))
e0g'ers'
epo'oege's
ag2‘ees
rly P60?
266'G0¢
LLLOb4

to FF £o 6 OF 0) fo

(we 6 4 6 Hf

-00@

eeL'eol bt
2c6 Ores

OL2*eZe"

}

PLe'eZo'e

969082
Obb' PZ
Gee‘or

9e0'ElZ

£06229"
(ofo' LCs
cér'zes°
coo‘een"
96Z'BLS
oes'ezs'

Spl acy
go6'6g2

eb
h)
i
9

g

e002

4 © 4 © oF

SONHEGELT [OL

Seung] luUeuND sseq 399q 19

Sanger] Penooy JELO
qaq 7 30 Aunpey queung
Snusray polejeq

UPSID jo aury

sabe jy pany

aiqeAed spunowoy
Segery

syessy JB}OL
ucgeie:dac] payeinunooy
syassly Jaq

quatudinby yg Apadolg
sjassy pojoursey

slassy jUaLIND sO
SJUSWISSAUY

s]useainbs yse 9 use

sjessy

3

 

12-cv-00216-CNC Filed 01/11/13 Page 57 of 93 Document 12-2

Case 2
 

BUWIOSU{ JSUIO
BNnUSASY JUSY
anueney

9 Woddns. Juz

 
  

AWODU] ZOOZ

 

L
sesuedxy Z00Z

 

 

sesusdxg welbold “2
gasuedx3
SBAJESIUNUPY “L

 

 

Case 2:12-cv-00216-CNC_ Filed 01/11/13 Page 58 of 93 Document 12-2
 

 

Hes podang

 

 

years weibod

 

l

 

 

 

yers quswebeueyy

 

 

 

 

 

 

“oul diew Yuva Bursno}4

 

"ou) ‘uorezUebio
Ayunwwo4 Wines

 

‘diog 6
a;geployy

uISnoH
JSBayINOS

 

 

 

 

 

Buisnopy dies-y

 

 

 

 

SIO}SHG 10 PROG

 

 

 

diyjsuequisay

 

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 59 of 93 Document 12-2
 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 60 of 93 Document 12-2
PAGE 13

TRI-CORP HOUSING

4). 43256865

83/20/2009 14:2)

 

ei ae

i-Corp Housing, Inc.

Tr

2001 Annual Report

 

 

a.
eat
a
wv
i)
A
“
un
BM
©
a af
a |
7
EI
i
0 as
i
—
war
eR
<
pres
od
t
a
~
.e
ee
Te)
ae
cei
b teeed

 
 

3/26/2669 14:21 4143208066 TRI-CORP HOUSING PAGE

Tri-Corp Housing, Inc.

 

4

14

Tri-Corp Housing, Inc. is a nonprofit organization formed in January of 1998 through the merge

of three existing non-profit organizations. These are South Community Organization (SCO).
Housing With Help (JWH), and Southeast Affordable Housing Corporation (SAHC). The
Board of Directors of these entities took this pioneering initiative im the belief that they would be
able to provide more and better service collectively than they would individually to Milwaukee
area women and men in need of assistance.

SCO, HWH, and SAHC have retained their respective identities and continue to emphasize these

areas of activity in which they excel and for which they have become known. Among these are
the provision of quality housing for defined groups-low and moderate income persons, and those
with special needs due to physical or mental infirmities.

The three divisions also contribute to a series of larger goals targeted by the board of Tri-Corp
Housing. Among those are the development and provision of social services for young people:
taking an active role in community efforts to reduce the presence of drugs, crime, and violence:
and encouraging individuals’ self reliance through Tri-Corp’s support of better education and job
training that will equip people to improve their employment opportunities.

South Community Organization

South Community Organization (SCO) is a traditional neighborhood-based organization
providing services to the south side of the city of Milwaukee. Formed in 1976 and incorporated
as a non-profit in 1977, major programs include housing rehabilitation, support groups, youth
services, and community outreach. "

Southeast Affordable Housing Corporation

Southeast Affordable Housing Corporation (SAHC) is a non-profit development corporation

focusing on affordable housing, Incorporated in 1991 by the Archdiocese of Milwaukee, SAH C

specializes in creating multi-family housing units in Milwaukee County suburbs.

Housing With Help

Housing With Help (HWH) is a non-profit agency that specializes in providing supportive
housing for Milwaukee’s disadvantaged citizens. Formed in 1977 and incorporated in 1991 as a
non-profit, HWH manages two multi-family properties on Milwaukee’s west side. These
facilities provide housing to 180 developmentally disabled, chronically mentally ill, or frail
elderly individuals.

Tri-Corp Housing, Inc.

1635 S. 8" Street, Milwaukee, WI 53204
Phone: 414/643-7913 Fax: 414/643-5972
Email: tticorp@exeepe.com

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 62 of 93 Document 12-2
B3/20/2689 14:21 41439288566 TRI-CORP HOUSING PAGE 1

Tri-Corp Housing, Inc.

1635 S. 8" Street . Milwaukee, WI 53204 . 643-7913. fax 643-5972

t
f

Letter From the President

The 2001 program year was a monumental one for the Board and staff of Tri-Corp Housing, Inc.
Following the changes created by the merger of Housing With Help, Southeast Affordable
Housing Corporation and South Community Organization, we were finally able to address many
of the organizational issues which had confronted us since our inception. Oné of our proudest
achievements was to begin addressing the aging infrastructure of the residences known as East
and West Samaria. Over $400,000 was invested in upgrading these facilities. The management of
Tei-Corp is deeply committed to the concept of providing quality housing at the most affordable
price for our many clients. A major component of this continuing effort is the reinvestment in
properties we already own,

The 2001 program year also saw a renewed commitment in our efforts to promote home
ownership throughout the greater Milwaukee area. Through our sales and counseling efforts
involving our own properties, and our efforts to assist Westside Housing Cooperative in their
efforts to promote home ownership, we were able to create opportunities for more families than
ever before.

November of this past year also saw us break ground on our newest venture. Two modular homes
on the corner of 7" & Madison were wet] under way by December 31" . We anticipate selling
these homes to owner occupants upon completion. During the 2001 program year, we also took
under management the properties of a second peer agency, Home Sweet Home. These efforts in
home ownership, the creation of housing, and our expanded property management program, has
resulted in Our managing more properties, serving more clients, and reaching a greater
constituency than ever before.

We are grateful to our many volunteers, supporters, and benefactors who have made these things
possible, The strength of Tri-Corp is the base of support we hold in the community. It is this
support which keeps us strong and growing.

In retrospect, 2001 was a very successful year. We continued to build our foundation for long
term growth by focusing on our strengths and working to address our weaknesses. We expect the
future to be brighter still,

\.

 

Leslie H. Gombus M.D..
President

Case 2:12-cv-00ep bade Filed 01/11/13 Page 63 of 93 ent 12-2.
B3/26/26B9 14:21 4143250666 TRI-CORP HOUSING PAGE 16

Tri-Corp Housing, Inc.

 

Throughout the year of 2001, Tri-Corp Housing, Inc. continued to provide their exceptional
services throughout Milwaukee County. These included Tri-Corp’s work in housing
rehabilitation, property management, counseling and advice services, community outreach, tnd
volunteer programs. Each of the three divisions of Tri-Corp played a role in the success of these
ventures,

Housing Rehabilitation

 

During 2001, South Community Organization continued to rehabilitate properties throughout the
city of Milwaukee. These units were renovated with the intentions of selling the property to
owner occupants upon completion.

aren neer ait gic eneny ee eer

Progression of Housing Renpyation 4a units/lots purchased

  

 

y 40
= @ units completed
3 30 2121
5 T] units sold for owner agcupancy
~ 20
v
B=
& 10-
=
0

 

1999 2000 2001

echt,

 

 

 

 

 

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 64 of 93 Document 12-2
83/26/2009 14:21 41 43268865 TRI-CORP HOUSING PAGE 17

Property Management

Units Managed in 2001

  
  
 
 

South Community Cherry Creek View
Organization Apartments
150 units 104 units Civic Arms/Packard
Hall
36 units

nits Managed for

East & West ; Peer Agencies
Samara 183 units
180 units

Housing With Help (HWH), which contains 180 units, served 239 residents in 200]. Along with
providing housing and counseling at each of the facilities, HWH continued to work with the
Transitional Housing Program and the Milwaukee chapter of the Red Cross.

The Transitional Housing Program, or THP, utilized 9 beds at West Samaria. The Red Cross
used 20 beds for their “Safe Haven” program. Both of these programs moved from the facility at
East Samaria to the facility at West Samaria.

Cherry Creek View Apartments, Packard Hall, and Civic Arms continued to be managed by
Southeast Affordable Housing Corporation. These properties embodied a total of 180 units.

in 2001, South Community Organization (SCO) managed 150 units of scattered site properties,
They also held the responsibility of the administrative and property management services of
Westside Housing Cooperative and Home Sweet Home. Sales of the properties to owner
occupants and “buy in your neighborhood” investors increased in 2001.

Increased Owner Occupancy

 

 

O units sold for owner occupancy |
® wits managed by SCO |

 

 

 

 

 

Jan. 2000 Dec. 2000 Dec. 2001

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 65 of 93 Document 12-2 |
Q2/26/2669 14:21 4143258866 TRI-CORP HOUSING PAGE 18

Counseling and Advice Services

 

Housing With Help and South Community Organization also offer a variety of advice and
. counseling services.

South Community Organization focused on four programs: Home Buying Seminars, Post
Purchase Counseling, the Community Learning Center (CLC) based out of Hamilton High
School, and the Caretakers of the Elderly support group, The Home Buying Seminars and Post
Purchase Counseling, both young programs, saw success in 2001.

\ Success of Home Buying Seminars
140

420
100
30 .

C purchased homes
wm participated
60
49

20 .
0:

Number of Families

 

1999 2000 2001

Participation in Post Purchase Counseling

30
“ 25
£
wo 20
= 2
as}
Ba 15
= 8
Oo
58 10
E
= 5.
0

 

years program has been in existance

Tri-Cotp Housing, Inc. entered into the second year of their partnership with Hamilton High
School’s Community Learning Center. The CLC offers recreational and educational activities
for youth and adults through tutoring, computer-assisted learning, homework help, art and
sporting programs, and cultural activities. Tri-Corp’s responsibilities include the hiring of staff,
fiscal duties, and assuring that the needs of the surrounding neighborhood are being met.

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 66 of 93 Document 12-2
63/26/2089 14:21 41 43280966 TRI-CORP HOUSING PAGE 15

‘The Caretakers of the Elderly, a program in its 20" year, continued to meet at St. Francis
Ltospital s Education Center. Caretakers of the Elderly offered support to individuals who are
respeaisible for an elderly individual.

ifousing With Help, as previously mentioned, worked with the Milwaukee chapter of the Red
Cross and the Transitional Housing Program, in addi. . | (PWH algo worked with advocates
from Set Ministries, Bach of these programs had similar goals-medical advocacy, case
Inanagement, came stabilization, and a social outlet.

Community Services

The Manitoba Park Day Camp, which was organized by SCO, moved
into its 9" year in 2001, The 8-week camp is licensed as a day care
facsdity by the State of Wisconsin. “Uhe 72 children enrolled in the
cansp parlcipated in recreational activities, field tips, and social

  

programs.

South Cammunity Organization assembled and distributed Thanksgiving baskets again in 2007.
liccause of the generosity of community organizations, a total of 33 baskets were given to
fiiihes in need.

 

Volunteer Programs

—

Volunteers of all apes donated their tine 1o Tri-Corp Housing, Inc.
in 2061 ‘These volunteers came to ‘'ri-Corp through programs hike
the United Way's “Day of Caring’, “Reach OutsReach In’, “Spring
into Service’, and Thomas More High School. The volunteers
assisted in cleaning up and rehabilitating properties for SCO,
SAHC, and WH.

 

Spechal Events

Lightly children participated in the 20" Annual tHlalloween Window Painting Contest on October
20 200L The children lined Mitchell Street, painting Waloween themed pictures on the
windows of Mitchell Street Merchants. Awards were distributed ina variety of age categories at
a Halloween party held later in the day.

\

The Tri-Carp Anoual Dinner was held on November 3, 2001 at Alverno Catlege. At the dinner,
several awards were distributed to honor individuals and organizations that have made efforts to
imuprave the quality of our community. The Tri-Corp Community Service Award was giver to
Sr. Lucina Halbur, CSA from S.L5"U. Ministries. Michael Van Alstinc, the Executive Director of
the Seighborhood Jmprovemunt Project was given the TreCorp Civic Involvement Award, Tn-
Corp Program Awards were awarded 1o MAI Bank, WEHEDA, Alderman Paul Henningsen, and
Tomine Berry, Guest speaker Ame Catalane, a local media celubrity, spoke of her experience
ol changing careers midlife

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 67 of 93 Document 12-2
 

 

Case 2:12-cv-00216-CNC_ Filed 01/11/13

O83/28/2009 14:21 4149200866 TRI-CGORP HOUSING P&aGE 26
Financial Information
Income Statement 2001 SCOR HWH SAHC & Tri-Corp, lnc,
Affiliate Affliate

Income .

Grant Support & Revenue $ 4,007, 477 $ - $ ~ g 4,007 ATT
Rent - $ 967,403 $ 934.135 4$ 41476 § 1,943,014
Contributions $ 4,131 $ 6,075 § ” $ 1G, 208
Servies Contract Income $ 482,596 & " $ - $ 182,596
Investment income $ (6,172) & 4,580 $ 341 8 (4,207)
Other Invome $ 18,145 $ 20,513 8 63,471 29,129
Total Income $ 2,170,630 § 962,303 § 405,288 § 3,238,221
Expenses

Program Services $ 2,450,881 4 994,938 §& 164,999 $ 3,510,818
Administrative Expenses 232,504 88,400 16,318 & 347 222
Total Expenses § 2,583,385 % 1,093,338 §$ qi? § 3,858,040
Change in Net Assets $ (412,755) $ (131,038) $ (76,029) 8 (619,819)
Net Assets at Beginning $ 260,974 § 1,840,011 $ 422,221 4% 2,623,208
Net Assets at End of Year $ (151,781) $ 1,808,976 § 346,192 & 2,003,987
Balance Sheet 2001

Assets

Cash & Cash Equivalents $ 3.28 $ - $ 4,220 § 4.457
investments $ . $ 605,887 §& - $ 505,897
Other Current Assets $ 1,856,496 $ 6,599 & 20143 §& 4,866,708
Restricted Assets $ 417,007 & 388,140 $ 2a 612 $ 533,759
Property & Equipment 3 3,755,408 $ . 2,926,952 % 947,689 5 7,630,049
Other Assets $ (138,435) $§ 215.216 $ 1.578,837 $ 1,655,618
Accumulated Depreciation $ 787,402 $ ao7.168 §$ 203,279 $ 1,792,849
Total Assets $ 4,808,302 $ 3,240,636 $ 2,356,085 $ 40,403,033
LiabHities .

Accounts Payable $ 186489 $§ 96,559 § 4,890 fF 284 048
Accrued Weges $ 12,072 § 985 $ ~ $ 13,057
Line of Credit § 224.110 $ “ § - % 224,119
Deferred Revenut $ 302,10¢ §% “ $ - $ 302,108
Current Maturity of L/T Debt $ 4,266,267 $ 74,324 § 548,014 4,898,605
Cither Accrued Liabilities $ 344,147 § 4861 $ 7,308 §$ 326,313
L/T Dabt Less Current Maturities 5 2653,988 $ 1.254821 $ 1,442,694 5,351,404
Total Liabilities $ 4,958,083 $ 1,431,660 $ 2009903 $ #,399,646
Net Assets |

Unrestricted $ (451,781) $ 1,786,468 & 346.192 $ 1,980,879
Restricted 5 - $ 22,508 $ . $ 22,508
Total Net Asseté 5 (151,781) $ 1,808,976 § 346.192 $ 2,003,387
Total Liabilities & Net Assets $ 4,806,302 $ 3.240636 $ 2,356,095 § 10,403,033

Page 68 of 93 Document 12-2
Ba/ 26/2869 14:21 4143288066 TRI-GORP HOUSING PAGE 21

2001 Expenses

 

i Program Expenses
@ Administrative Expenses

 

2001 Income

 

fe Ron

@ Grant & Suppon Revenue
£] Other incorne

@ Service Contract Revenue
fS investment income

@ Other Assets

tl Goatributions

 

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 69 of 93 Document 12-2 .
O3/ 264 2089

41452508565

TRI-CORP HOUSING

 

Membership

 

 

Board of Directors

 

 

 

 

Tri-Corp Housing

PAGE 22

 

 

 

 

 

 

Southeast Affordabld

Housing Corp.

 

 

 

South Community
Organization, Inc.

 

 

 

 

 

 

Housing With
Help Ine.

 

 

 

 

Management Staff

 

 

 

 

 

 

 

 

 

Program Staff
Support Staff
2001 Board of Directors
President-Or. Leslie Gombus
Vice President-Edward Aianupi
Secretary~Judith Free
Treasurer-Jonn Machulak
Edna Awosika Dr. Var 4 Baker | Hector Colon
Cynthia Cullinan Cynthie dodge Margarita Garcia-Guerrero
Joe Henika Patrita Hernandez . Florence Plesser
Gladys Roazak Mark Silvernan Mary Louise Stenger
Jack West Gheryi Willams

Executive Director-Michael 5, Brever

Case 2:12-cv-00216-CNC Filed 01/11/13

Page 70 of 93 Document 12-2
@3/28/2089 14:21 4143260066 TRE-CORP HOUSING PAGE az

Tri-Corp Housing, Inc.
2000 Annual Report |

 

   

 

 

 

South Housing Southeast
Cormunity With Affordable
Organization Help Housing

Case 2:12-cv-00216-CNC_ Filed 01/1 Document 12-2
H3/ 26/2689 14:21 4143208866 TRI-CORP HOUSING PaGe a3

Tri~Corp Housing, Inc. :

Tri-Corp Housing, Inc. is a nonprofit corporation formed in January of 1998 through the merger
of three existing non-profit organizations~South Community Organization (SCO), Housing With
Help (HWH), and Southeast Affordable Housing Corporation (SAHC). The boards of directors
of these entities took this pioneering initiative in the belief that they would be able to provide
more and better service collectively than they would individually to Milwaukee area women and
men in need of assistance.

™

SCO, HWH, and SAHC have retained their respective identities and continue to emphasize those
areas of activity in which they excel and for which they have become known. Among these are
the provision of quality housing for defined groups~low and moderate income persons, and those
with special needs due to physical or mental infirmities.

The three divisions also contribute to a series of larger goals targeted by the board of Tri-Corp
Housing. Among those are the development and provision of social services for young people;
taking an active role in community efforts to reduce the presence of drugs, crime and violence;
and encouraging individuals’ self reliance through Tri-Corp’s support of better education and job
training that will equip people to improve their employment opportunities.

South Community Organization, Inc.

South Community Organization (SCO) is a traditional neighborhood-based organization
providing services to the south side of the city of Milwaukee. Formed in 1976 and incorporated
as a non-profit in 1977, major programs include housing, youth services, support groups, and
community outreach.

Southeast Affordable Housing Corporation

Southeast Affordable Housing Corporation 1 a son-promt aevetopment corporation focusing on
affordable housing. Incorporated in 1991 by the Archdiocese of Milwaukee, SAHC specializes
in creating multi-family housing units in Milwaukee County suburbs. Current projects include
units in Cudahy, South Milwaukee, and Oak Creek.

Housiig With Help, Inc. ,

Housing With Help is a non-profit agency that specializes in providing supportive housing for
Milwaukee's disadvantaged citizens. Formed in 1977 and incorporated in 1991 as a non-profit,
HWH manages two multi-family properties on Milwaukee’s west side, which provide housing to
180 developmentally disabled, chronically mentally ill, or frail elderly individuals.

:
}

Tri-Corp Housing, Inc. .
1635 South 8® Street, Milwaukee, WI 53204

Phone: 414/643-7913 Fax: 414/643-5972

Email: tricorp@execpc.com

Case 2:12-cv-00216-CNC_ Filed 01/11/13 Page 72 of 93 Document 12-2
63/28/2009 1d: 2) 4143288066 TRI-CORP HOUSING PAGE 4

Tri-Corp Housing, Inc.

1635 S. 8" Street . Milwaukee, W1 53204 . 643-7913. fax 643-5972

Letter From the President

‘The 2000 program year was a monumental one for the Board and staff of Ti-Corp Housing
incorporated. Following the changes created by the merger of Housing With Help, South
Community Organization, and Southeast Affordable Housing, we were finally able to focus on the
business of planning for the future. One of our proudest achievements was a two day planning
retreat at which all the Board and key management staff Jaid the groundwork for a Strategic Plan.
This plan will be implemented in 3, 5 and 10 year increments 50 we can chart our success, while
allowing for modifications due to our changing environment.

The management of Tri-Corp is deeply committed to the concept of success stemming from
proper planning. This concept has served as a guide as we worked our way through the initial
years of Tri-Corp as an entity.

‘The 2000 program year saw the successful conclusion of our Cherry Creek Tax Credit project, a5
well ag a dramatic increase in our efforts at Westside Housing. Cooperative, These two projects
resulted in our managing more units, serving more clients, and reaching a greater constituency
than ever before. We view them as a sign of things to come. .

2000 also saw a change in leadership at Tri-Corp. Thomas Gale, Cheryle Williams, Ron Knutel
and Andrew Hunsick chose to not seek re-election to the Board for the 2001 program year. We
are grateful to them for all their efforts on our behalf. The strength of Tri-Corp is the base of
volunteers, such as these individuals, who keep us strong and growing.

-Ajlin all, 2000 was a very good year. We laid the foundation for continued success by focusing
and building on our strengths, while identifying and addressing those areas where we feel we need
to improve.

With a dedicated Board of Directors, a talented staff, and the help of our sponsors, benefactors
and friends, we expect the future to be even brighter.

 

Leslie H. Gombus M.D.
President

x Me
Case 2:12-cv- 216-CNC Filed 01/11/13 Page 73 of A cument 12-2
 

63/26/2089 14:21 4149286866 TRI-CORP HOUSING PAGE 85

Tri~Corp Housing, Inc. ;

During 2000, Tri-Corp Housing, Inc. continued their outstanding work in housing
rehabilitation, property management, counseling and advice services, community
services, and volunteer programs, In addition, they organized a variety of special everts-
such as their annual dinner, the Halloween Window Painting Contest, and the Tn-Corp
picnic-which proved to be great successes. All three divisions of Tri-Corp played a role
in the success of these ventures.

Housing Rehabilitation

South Community Organization (SCO) continued to focus the majority of its activities
within the city of Milwaukee. During 2000, SCO purchased 23 units of depressed
housing targeted for renovation. Through the rehabilitation, these units were made code
compliant and energy-efficient. In addition to the 23 units acquired, SCO purchased 4
“In-fill” lots. This term refers to an empty lot in to the middle ofa block that is targeted
for a new house. The addition of these lots brought the total number of vacant lots to 6.
In 2000, construction began on 3 of these lots. Completion is targeted for 2001, Each of
the units acquired by SCO will be renovated with the intention of “owner occupancy”.

Of the 23 units completed in 2000, 20 were sold for owner occupancy.

By leveraging property equity with lenders to finance this rehabilitation effort, SCO
created $1,145,000 of reinvestment in low-income neighborhoods.

 

 

 

 

 

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 74 of 93 Document 12-2
63/26/2669 14:21 4143700566 TRI-GCORP HOUSING PAGE 686

Southeast Affordable Housing Corporation continued the management of its two
multi-family facilities in the south suburbs. The Civic Arms unit in South Milwaukee
and Packard Hall in Cudahy provided affordable housing to 38 families. With the
completion of the renovations at Cherry Creek View Apartments in Oak Creek, the
nurnber of units SAHC managed rose to 142.

South Community Organization continued to take responsibility of the administrative and
property management services of Westside Housing. SCO managed 280 units on
Westside’s behalf. Through sales to members and neighborhood investors, the amount
had decreased to 220 by the end of the year. :

Counseling and Advice Services

in addition to property management and housing rehabilitation, Tri-Corp also offers
advice and counseling services. Two of the divisions, South Community Organizauion
and Housing With Help, provide the majority of these services.

Housing With Help counseling activities focused on relationships with three other service
providers. Asa result of an ongoing relationship with Set Ministries, the men and
women who lived in East Samaria and West Samaria were the beneficiaries of expert
counseling and supportive care. As needed, Set Ministries’ advocates worked on the
residents’ behalf to secure SSI (Social Security for disabled persons) payments, medical
services, case Management, and an appropriate social network. Earlier in this report,
reference was made to Milwaukee County’s THP and to the American Red Cross’ Safe-
Haven program. The goals of these are similar to those of Set Ministries-medical
advocacy, case management, income stabilization, and a social outlet.

South Community Organization, along with area lenders, continued to offer Home
Buying Seminars, which originated in 1999, During 2000, a total of 17 seminars Were
held-& in Spanish and 9 in English. Sixty-seven families interested in home ownership
and wanting to learn what they must do to put themselves in position to achieve that goal
took advantage of these counseling opportunities. Twenty-two of the 67 families were
able to purchase a home before the end of 2000. The majority of participants that did not
purchase a home continued to work on clearing their credit or saving funds for a down
payment. Funding from the United Way and the State Division of Housing helped make
the program a success, and ensured its continuation into 2001.

To complement its housing rehabilitation and property management, SCO began a new
program. For the first time, the organization offered Post Purchase Counseling-which
was certified by the Department of Housing and Urban Development. The counseling,
which was offered in both English and Spanish, focused on the family keeping ther

home, maintaining positive credit reports and monthly budgets. 22 families participated
in the counseling in 2000.

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 75 of 93 Document 12-2
Ba/26/2869 14:2) 41435238966 TRI-CORP HOUSING PAGE 67

Southeast Affordable Housing Corporation (SHAC) completed the $1 million renovation
of Cherry Creek View Apartments. The renovation resulted in affordable housing for
low- to moderate-income families. The 104-unit complex, located in Oak Creek, had full
occupancy by the end of 2000. In addition, each of the 13 buildings received the Form
8609 tax credit certification by year-end.

Overall, in both 1999 and 2600, the number of units completed soared over the goals set
for those years. This was a great accomplishment for Tri-Corp!

 

Housing Production

 

 

 

 

 

      
 

 

fEUnt Goal 7
W Unit Completion

 

wre 1 BOL cunning

aM

 

   

tennbrapeeinn TIT

 

Units of Housing
seesssags

 

 

 

 

 

 

=
=

 

 

 

 

 

 

 

bi _ te Ps
{995 4906 1997 1998
Pragrarnt Years

a
4

 

 

 

 

Property Management et

Housing With Help (HWH) provided housing and counseling at each of their facilities,
East Samaria and West Samaria, for a total of 235 residents over the course of 2000.

In addition, funds were raised and renovations at the two locations were completed.
$170, 000 was raised to add to the $300, 000 raised in 1999. The improvements made at
West Samaria included new bathrooms, energy efficiencies, roofing, and floor coverings.
East Samaria received a new roof, paved parking lot, and floor coverings. Renovations
were made at both of the facilities to bring them more in line with the recommendations
of the Americans With Disabilities Act.

During 2000, HWH also formed and enhanced existing relationships with two outside
organizations. The Milwaukee Chapter of the American Red Cross continued to use 20
beds at West Samaria for its “Safe Haven” program, The Transitional Housing Program
(THP), run by Milwaukee County, utilized 6 beds at East Samaria for housing for the
CSP Program.

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 76 of 93 Document 12-2
B3/26/2889 ld:2l1 ql 452808565 TRI-CORF HOUSING PAGE #86

In addition to Post Purchase Counseling, South Community Organization initiated
another new program involving a unique partnership with Hamilton High School. A
Community Learning Center (CLC) is a Milwaukee Public School’s initiative designed to
bring residents into community schools. Hamilton High School’s CLC promotes
academic achievement through homework help, computer assisted learning, tutoring in
English, Reading, and Math and by helping students meet high school graduation
requirements, SCO's responsibilities include the fiscal duties, hiring of staff, and to
make sure the needs of the surrounding neighborhood are being met.

The Caregivers’ Support Group entered into its 19" year in 2000. The support group is
geared towards individuals who care for and are responsible for an elderly individual.
The group meets the first Saturday of each month at St. Francis Hospital’s Education .
Center,

Community Services _- ,

South Community Organization’s summer day camp, which is located at Manitoba Park,
entered its 8"" year in 2000, Recreation, field inp, a
and social programming were offered to each of the
72 children enrolled. In addition, the camp ran for
8 weeks and continued to offer early drop-off and
late pick-up to meet the needs of working parents.
The program is licensed as a day care facility by
the state of Wisconsin.

 

 

In 2000, SCO continued to assemble and distribute Thanksgiving food baskets. With
food collected by Woodland School and St. Francis Hospital, 37 baskets were completed
and given to families in need,

 

 

 

 

Re 1H Pa ei
Te -

Mi

 

 

 

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 77 of 93 Document 12-2
B3/20/2689 14:21 4143258866 TRI-GORP HOUSING RAGE 89

Volunteer Programs ;

Tr-Corp worked with volunteers from a variety of organizations in 2000. Individuals of
all ages assisted SCO, SAHC, and HWH in improving the appearance and quality of
multiple properties. Thanks to 3 different groups of United Way “Day of Caring”
volunteers, 2 newly purchased houses were cleaned out and prepared for renovations.
These volunteers also cleaned-up neighborhoods surrounding SCO rentals and cleaned
and painted both East and West Samaria. A group of church volunteers donated their
time and talent once per month at SAHC properties. To celebrate Spring Into Service, 2
dozen students from UW-Madison, Edgewood College, and Madison Area Technical
College spent an afterngon working on a variety of projects, Carrying on their tradition,
Seniors from Thomas More High Schoo! donated time to fulfill ™ —_
a requirement for graduation. The students spent this time
completing rehabilitation tasks at several properties. For the
ninth year, SCO received volunteers from “Reach Out-Reach In”,
a program of the Catholic Church. These high school students
from across the Milwaukee area spent a portion of their summer
working a variety of tasks for Tri-Corp. Adults and children
ordered by courts to complete community service also helped

on a variety of projects throughout.2000. Tri-Corp was very
fortunate to have so many anxious helping hands.

        
 
 
 
 
 
 
 
  

ah

 

 

 

 

 

 

Youth Works
Vohlumteers

 

 

 

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 78 of 93 Document 12-2
83/28/2089 14:21 4143280066 TRI-CORP HOUSING PGE 14

Special Events : .

 

The 19” Annual Halloween Window Painting Contest was held on October 21, 2000.
Over 110 children positioned themselves up and down | 00 ;
Mitchell Street, painting Halloween-theme pictures on ;
the windows of Mitchell Street merchants. A panel of
judges then viewed the completed paintings. Awards
were given ina variety of age catego: :s at & party Fae
with refreshments and entertainment laier in the day. Window Painting Contest Winners

   

 

 

At the Tri-Corp annual dinner, which was held on November 4, 2000, individuals and
organizations that have made efforts to make our community a better place were honored.
The Tri-Corp Community Service Award was given to an individual or individuals whose
positive efforts and leadership has enhanced the quality of hfe for our neighbors, our
neighborhood, and our community in general. This year the Tri-Corp Community
Service Award was presented to Dr. Edwin B. Christie, for his generous spirit and
donation of property to Tri-Corp. Another award presented was the Tri-Corp Program
Award. This award is intended to pay tribute to an individual or individuals whose
efforts, though largely unknown to most members of Tri-Corp, have guaranteed the
success of a venture of Tri-Corp. For recognition of his dedicated service, Mr. Robert
Donaj was the recipient of the Tri-Corp Program Award. Lastly, the Tri-Corp Civic
Involvement Award was presented. This particular award is given to a businessperson,
elected official or business to recognize their efforts to return a positive contribution to
the community, For their assistance with energy assistance programs, the Tn-Corp Civic
Involvement Award was given to the Wisconsin Gas Company and the Wisconsin
Electric Company. The presentation of awards was accompanied by a keynote address,
given by Mr. Norman “Bud” McKonley, Chief Executive Officer of the American Red
Cross. ”

 

 

 

 

 

 

 

 

 

 

 

 

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 79 of 93 Document 12-2 |
@3/26/2089 1d:22

41 43268866

TRI-CORP HOUSING

PAGE.

Financial Information Tri-Corp Housing, Inc.

income Statement

income

2000

Grant Support 4 Revenue

Rent
Contributions

Service Contract Revenue

Inveatrnant income

Other income

Other Asagts rfaanect
from Restietions

Total income

Expenses
Program Services

Administrative Expenses

Total Exparises
Change in Nal Agsate
Net Agaels at beginning

Net Assets at end of year

Balance Sheet 2000

Assets

Cash & Gash Equivatents

investment?

Other Current Aasets
Restricted Assets
Property & Equipment
Other Agsets

Accumutated Depreciation

Total Assets

Liabilities
Accounts Payable
Acerued Wages
Line of Credit
Daferred Revenue

Current maturities of L/T debt

Other accrued Liehbiitles

L/T debt, Ides current maturities

Total Liabilities

Net Assath
Unrestricted
Restricted

Total Net Assets

Tote! Liehliiities 4 Net Assets

sco’
Affiliate

$
$
$
$
5
$

YY + # if

we wi fF

we oe ee Oo

Case 2:12-cv-00216-CNC

984265
77S 260
36,600
156,248
7,654
ao 212

A047 524

O77 412
137,467

2,114,978
(67,355)
776,451

700,006

(42,413)
4,871,063
413,349
4,158,032
268,642
(754,805)
6,434,768

145,381
508
222,766
402,469
4,419,641
305,125
2,652,135
6,068,685

282,280

282,268

6,320,974

HWH

$ 961,346
$ «4,031
§ 142,042
$ 20,008
$ 120,592
$ 1,264,696
$ 843,204
$ 197,206
$ 9R0,470
$ 274119
$ 1,785,166
$ 2,056,287
$ é8B,7az
$ 677.832
$ 90,305
$ 373,108
$ 2,622,576
§ 15,795
$ (716,842)
$ 3,364,008
$ 64,866
$ 71,333
5 42,400
$ 1,278,951
$ 1,457,550
$ 1,316,187
$ 22,508
$ 1,998,698
$ 2,396,248

SAHC &

Affitiate
$ 68,945
$ 46
3 274,190
$ 9 340,171
$ 107,388
& 107,368
$ 232,773
$ 189,448

“$ 422,224
§ 518
$ 109,867
5 847,683
$ 1,284,444
$ (168,784)
$ 4,170,608
3 44,880
$ 18,012
& 63,161
$ 6,385
$ 1,718,874
$3 422,221
$422,271
& 2.790.143

TreCorp, ine.

Aw we oe oF OF

o* 4

* ae te th oF

wae if wo HF oF

we ee oot oF

Sd

*

984,265
1,800,151
99,721
168,246
146,899
a1 att

120,592

3,047,235

2,928,014
274,733

3,202,747

439,538
2751 C87

3,190,805

46,337
O77 B32
1,871,065
486,457
7,929,154
1,585,604
(1,640,431)
10,856,332

222.107
SD8
239,398
302.109
1.854, 135
364 8t0
5,859,560
6,333,127

2,600,697
22,508
2,823,208

10,936,392

Filed 01/11/13 Page 80 of 93 Document 12-2

il

s
43/26/2689 1432] 4143280656 TRI-CORP HOLEISING

 

Membership

 

Ln

 

-
Board of Directors

 

 

 

Tri-Corp Housing

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Southeast Affordabl South Community Housing With
Housing Corp. Organization, Inc. Help Inc.
Management Staff

 

 

 

Program Staff

 

 

 

Support Staff

 

 

 

2000 Board of Directors

President-Dr. Leslie Gombus
Vice President-Edward Alarupt
Secretary-Judith Free
‘Treasurer-John Machulak

Dr. Vance Baker Cynthia Cullinan Cynthia Dodge
Thomas Gale Joe Henika Patrita Hernandez
Ron Knutel Florence Plesser Gladys Roszak
Mark Silverman Jack West Cheryle Williarns

Executive Director-Michael 5. Brever

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 81 of 93 Document 12-2

PAGE
TRI-CORP HOUSING, INC.

ALY

wie

TEDTAPCSe eT P Uae Cr

t

sarah

is beet p eos"
=

aly

wat.

| DTD: =

 

 

 

 

 

—
a
~~
—-
Ce
in
ie
eel
‘cman
ne
—
ale
—_

{ oom

 

ra

|

MAA

 

EXHIBIT

 
 

" Tri-Corp Housing Inc.

 

Tri- -Corp Housing is a non- profit corporation formed in January of 1998 ‘through the merger of
_ three existing non-profit organizations — South Community Organization (SCO), Housing With
Help (HWH) and Southeast Affordable Housing Corporation (SAHC). The boards of directors of
‘these entities took this pioneering initiative in the belief that they would be able to provide more
and better service collectively than they would individual ly to Milwaukee area.men and women
in need of assistance.

SCO, HWH and SAHC have retained their respective identities and continue to emphasize those
‘areas of activity in which they excel and for which they have become known. Among these are
the provision of qua! ity housing for defined groups — low and moderate income ’ persons, and
those with special needs due to physical or mental infirmities.

The three divisions. also contribute to a series of larger goals targeted by the board of Tri- Corp
Housing. Among those are the. development and provision of social services for young peopie;
taking an active role in: community efforts to reduce the presence of drugs, crime and violence;
and encouraging individuals’ self reliance through Tri-Corp’s support of better education and
job training that will equip people to improve-their employment opportunities.

South Community Organization, Inc.

South Community Organization is a traditional neighborhood-based organization providing
services to the south side of the City of Milwaukee. Formed in 1976 and incorporated as a
~~ non profit in 1977, major programs include housing, youth services, support groups and
community outreach.

. Southeast Affordable Housing Corporation

Southeast Affordable H ousing Corporation is a non- profit development corporation focusing
“on affordable housing. incorporated in 199% by the Archdiocese of Milwaukee, SAHC specializes
_in creating multi-family housing units. in Milwaukee County suburbs. Current projects include
units in Cudahy, south, Milwaukee and Qak Creek.

Housirig With Help, Inc.

Housing With Help is anon: profit agency which specializes in providing supportive housing for

Milwaukee’s disadvantaged citizens. Formed in 1977,_and incorporated in 1991 as a non- profit, ~

' HWH manages two multi-family properties on Milwaukee’s west side which provide housing to -
- 180 developmentally disabled, chronically méntally ill, or frail elderly individuals.

Tri-Corp Housing, Inc.

 

1635 South 8th Street, Milwaukee, WI 53204

Phone: 414/643-7913 Fax: 414/643-5972 — Email: tricorp @execpc. com
Case 2:12-cv-00216- CNC Filed 01/11/13 Page 83 of 93 Document 12- 20.0
Letter From The President

 

In our 1998 annual report - Tri-Corp Housing’ s first following the
merger of South Community Organization, Housing With Help and
Southeast Affordable Housing Corporation — | told you that one of our
initial goals was to. create anew model of management. ] am pleased
and proud to tell you that, as the result of a great deal of hard work on
the part of the Tri-Corp Housing staff and Board of Directors, that goal
has been met.

We knew that merging three existing organizations would bea
challenge. So, in 1999, we concentrated on getting our hands: around
what we had done, with organizational restructuring as a primary
focus. Making systems management a priority has resulted in an

~ excellent, solid foundation for the continued growth and prosperity
of Tri-Corp Housing.

 

That is also good news for the. community because, as we grow-and
prosper, we can serve more families in need.

~ As you read through this year ’s report, you will see that 1999 was a busy year, indeed., We built
on existing activity; launched some new initiatives, and further enhanced our reputation as one
of the community’s most effective and most efficient agencies in the affordable housing arena.

| am also pleased to report that the ’new entity we have created - Tri-Corp Housing, Inc. - has been
granted federal tax-exempt status.

tri-Corp’ s continuing excéllence was honored by the community. We were a runner-up in. the
“Architecture” category in the inaugural MANDI (Mi lwaukee Area Neighborhood Devel opment
Initiative) Awards program. In addition, the agency was honored by the Wisconsin Housing and
Economic Development Agency (WHEDA) with an award for “Excellence in Community Service”
and another from the Housing Assistance Council of Washington, DC for our Self-Help Housing »
Initiative. We are very pleased at the special recognition given to our Executive Director,
Michael Brever. Mike was the recipient of the first MANDI Award. for “Neighborhood
Devel lopment Leadership.”

| also want to take this opportunity to publicly. thank departing board members Warren Braun,
- Laura Gille and Robert Nicol. Their assistance in getting this new organization up and running
was invaluable.
Allin all, 1999 was a very good year. We laid. the foundation for continued success by focusing
and building upon our strengths, and identifying and addressing those areas where we feel

we need to improve.

With a dedicated Board of Directors, a talented staff and the help of our sponsors, benefactors
and friends, we expect the future to bé even brighter

Cynthia Cullinan

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 84 of 98 Document 12-2
HOUSING: It’s Part of Our Name

 

 

 

 

 

 

 

In 1999, Tri-Corp Housing, Inc. continued its focus on housing initiatives in and around the greater
Milwaukee area. Our efforts focused on three major areas: Housing Rehabilitation, Property
Management and Housing Counseling. All three divisions of Tri-Corp played a role in the

success of these ventures.

Housing Rehabilitation

 

South Community Organization (SCO) focused its activities within the City of Milwaukee. During
the 1999 program year, SCO acquired 25 units of depressed or deteriorated
housing in low income.neighborhoods with the intent of renovating them so that
they would be code-compliant and energy-efficient. We blended grant subsidies
with conventional financing to create more than $2.1 million of re-investment

in those neighborhoads.

In all cases, the housing units we acquired were targeted for “owner occupancy”
upon completion. By the end of 1999, we had completed work on 16 of the units
and 14 of those 16 had been sold to owner occupants. We expected to complete
the other 9 units from this group in 2000, and had enlisted the services of brokers
to market all unsold units. SCO’s work over the years in property acquisition,
renovation and subséquent sale to owner occupants has been uniquely successful.
Our success in this area has been recognized in reports issued by the City of
Milwaukee’s Community Block Grant Administration. These reports indicate that
we rehabilitate more units with less subsidy than any other agency in the City

of Milwaukee. In addition, we are the leader in turning over units to owner occu-
pants. South Community Organization also broke ground on a new venture in
urban rehabilitation. “In-fill” new construction projects were started at two loca-
tions in 1999, “In-fill” refers to activity on vacant lots in the middie of

residential city blocks. We believe these projects could serve as a prototype for
future efforts to provide home ownership opportunities for low income families.

 

Southeast Affordable Housing Corporation (SAHC) focused its activity on its new
project in Oak Creek known as Cherry Creek View Apartments. We acquired this complex in
December of 1998 and, in 1999, began a $1 million facelift of every one of its 104 units. By
year’s end, with Tri-Corp Housing acting as general contractor, we had expended $600,000 and
had completed and made code compliant 64 of the apartments. Most important, these 64 units
were then occupied by iow- to moderate-income families. Had SAHC not taken the initiative in
acquiring these properties, in all likelihood they would not have remained as affordable housing.

Cherry Creek View is the largest venture ever undertaken by any of the divisions of Tri- -Corp.
since tax credit financing was involved, the project required the approval and participation of
the Internal Revenue Service and the State of Wisconsin, through the Wisconsin Housing and
Economic Development Authority. The blessing of the federal i government’s Department of
Housing and Urban Development was also necessary before HUD would agree to help fund the
project. We targeted july of 2000 for completion and occupancy of the remaining 40 Cherry
Creek View apartments.

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 85 of 93 Document 12-2
Property Management

 

. Housing With Help (HWH) continued.to provide supportive housing.to 183 residents at our two
facilities, East Samaria and West Samaria. Because of turnover that is not uncommon from our
unique client population, more than 250 clients benefited from our Support in 1999.

‘The clients we serve at these two downtown Milwaukee facilities have disabilities that are acute
and life long. A dilernma we face in providing service to this needy population is the fact that our
‘clients’ income is severely limited. Yet, for a minimal monthly rent, we offer basic room and
board, which includes three nutritious meals, seven days a week. Bed linen, room: cleaning and —
laundry services are available at nominal cost.

During 1999, a new v relationship was as forged with the Milwaukee Chapter of the
American Red Cross. As part of that relationship, 20 beds at West Samaria are set
aside for use by the Red Cross in its * ‘Sate I Haven” program.

At yeai’s end, the Board of Directors and staff of Tri-Corp Housing were hard at
work on a. Housing With Help capital campaign. Our goal isto raise $500,000 to
renovate both East and West Samaria. The focus of the improvements will be .
restroom facilities, roofs; floor coverings, energy efficiency improvements and
enhancements .to the structures that bring them more in line with recommend-
ations of the Americans With Disabilities act. More than $300,000 was raised
in 1999. Our hope is that thie balance of the funds will be raised in 2000,
so that we can begin the renovation process.
Southeast Affordable Housing Corporation continued the management of its:
two multi-family facilities in the south suburbs. Our Civic Arms. unit in South |
Milwaukee and Packard Hall in Cudahy provide affordable housing to 42 families.
With the aforementioned acquisition, renovation and subsequent rental of units
at Cherry Creek View Apartments in Oak Creek, we entered the property
“management phase there as well. In most cases, SAHC projects were financed _
by tax. credits. Asa result, in. those cases rents are capped at 30 % of a family's S-
monthly income.

 

 

South Community Organization, through its subsidiary, the. Southside Housing ~
Cooperative, contunued the management of a 150-unit, scattered-site portfolio of rental properties
on the south side of Milwaukee. Annual income for tenants of these units may not exceed 80% of
the area’s median incomé, adjusted for family size. As the demographics _

of the south side have changed, so has the constituency of our rental units. T oday, 80% of our
tenants are Hispanic, with 50% of these having Spanish as the primary language in the home. »

We are well-equipped to respond. to the needs of this population, since 80% of our Property
management staif speaks Spanish. ;

Counseling» |

 

Though “Housing” is part of our name, there are a number of instances where the service we
provide to our clientele goes beyond that important and necessary work. That is most evident
in programs under way at two of our divisions - South Community Organization and Housing —
With Help.

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 86 of 93 Document 12-2
 

 
  
   

A. C.D. E. - United Way
. Day Of Caring Week

B. - Civic Arms
Halloween Party

F - Manitoba Park Day
Camp Awards Day

 

 

 

 

 

 

 

 

A
   

 

 

 

GL. - Tri-Corp Plenic

il. - Reach Out / Reach in

J. - Thomas More Seniors
K. L. - Self-Help Before & After

 

 

 

Case 2:12-cv-00216-CNC

 
south Community vrganization launched a new program in 1999 to complement its housing
rehabilitation and property management activities. We offered home purchase counseling for the:
first time, and joined with area lenders to Stage a series of free home purchase seminars. During
the year, 88 families, interested in home ownership and wanting to learn what they must do to
put themselves in position to achieve that goal, took advantage of these counseling opportunities.
Of that group, 25 families were able to purchase a home before the end of 1999. Most of the
others were continuing efforts to clear credit or save down-payment funds so they could better
meet lenders’ homebuying criteria, Funding from the United Way and the State Division of
Housing helped make the program a success, and ensured its continuation in 2000,

Housing With Heip counseling activities focused on relationships with two other service providers.
As a result of our ongoing relationship with Set Ministries, the men and women who live in East
Samaria and West Samaria were the beneficiaries of expert counseling and supportive care.

As needed, Set Ministries’ advocates worked on our residents’ behalf to secure SSI (Social Security
for disabled persons) payments: medical services; case management; and an appropriate social
network. Earlier in this report, reference was made.to the American Red Cross’ 20-bed Safe.
Haven program launched during 1999 at West Samaria. The goals are similar

to those of Set Ministries - medical advocacy, case management, income
stabilization and a social outlet. .

Community Services

 

south Community Organization’s summer day camp was expanded in 1999 from
six weeks to eight weeks, We also introduced early drop-off and late pick-up of
children-to make the program more conducive to the needs of working parents.
in all, 72 children took part in the camp which, as usual, was headquartered

at Manitoba Park on Milwaukee’s south side, Participating children enjoyed
recreational, field trip and social programming. Our program, in existence for

eight years, is licensed as a day care facility by the state of Wisconsin.

 

“SCO also began a major technical assistance effort for another of Milwaukee's
affordable housing agencies. Beginning in April of 1999, SCO’s accounting and
administrative staff worked with the Westside Housing Cooperative to help them
upgrade their accounting systems and become more efficient. Westside owns
and manages a 280-unit scattered site portfolio on Milwaukee's near west side.
Westside Housing Cooperative has a 25-year history of méeting the affordable
housing needs of Milwaukee's low- and moderate-income families.

 

Tri-Corp Housing has come to be recognized for our commitment to clean, safe, livable neighbor-
hoods and our ability to get things done. It is with tHat in mind that homeowners and business
owners often bring to our attention neighborhood properties that appear to be in violation of
municipal building codes. In 1999, working with that information, our staff identified 203
residential and business properties that were non-compliant with one or more codes. As we
learned of these situations, we sent letters to those property owners, alerting them to code
compliance problems and identifying for them possible remedies. By the end of the year, all -but
45 properties had been voluntarily brought back to compliance - an action rate of nearly 80 %!

We have also established a reputation as being a valuable resource for neighborhood associations |
and/or block watches, which play key roles in the viabilities of their communities. During 1999,
we helped organize two new neighborhood groups - The Burnham Park Neighborhood Association
and The Neighbors of Rieske Park. Also, with our assistance, the Clarke Square Community
Association, the Cesar Chavez Drive Advance Committee and the Kinnickinnic Avenue Task Force
“all realized a 10% to 20% growth in their respective membership bases. They also identified
many new priorities and goals. |

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 89 of 93 ._Document 12-2
 

Special Events

 

We were honored to have been selected by the Department of Housing and Urban Development
(HUD), after having been recommended by the City of Milwaukee, to take part in the first annual
_ “Raise the Roof Day”. HUD’s “national housing day” took place in 156 cities on Oct. 16, 1999.
The intent of this new venture was to create partnerships between HUD, local governments,
non-profit groups and businesses to organize volunteers to repair deteriorated and often vacant

housing and to build new housing.

We used the occasion to gather 50 volunteers to assist our staff with work being one on a new
house at Mineral and 24th Street. Previously sitting on this lot was a burned-out house which
the city had ordered be torn down. We handled the demolition and, using panelized new
construction, which is a form of modular housing, erected the new house. Among tasks nandied
by the volunteers were window installation and fence building. On hand-for the occasion were _
Milwaukee Mayor John ©. Norquist; Del Reynolds from HUD’s Milwaukee office; a representative
of Fannie Mae, the federal mortgage company; and officers of Bay View Federal Savings & Loan

and M&li Marshall & Ilsley Bank. The Mineral Street structure is one of two new
construction projects we’ launched in 1999. The other is a house at 25th Street
and National Avenue, where an abandoned restaurant sat for several years.

We demolished the existing building and began building a house, again using

the panelized construction method alluded to earlier. Both houses were expected
to be completed in 2000 and then offered for sale. . 7

We used the occasion of the Tri-Corp annual diriner on Nov. 6, 1999, to pay
special tribute to some people who have made our community a better place.

We presented the Tri-Corp Community Service Award to Dorothy Seeley, founder
and then president of United Seniors of Wisconsin, Inc. Under her Jeadership,
the seniors group made funds available to Housing With Help to provide a |
handicapped-accessible front entrance at West Samaria; clothing for the residents; |
and reclining chairs for the day room. In addition, United Seniors sponsored an
open house and Christmas party. We also preserited for the first time the Tri-Corp
Samaritan Award. This went to members of the Schowalter Family in recognition
of their:efforts on behalf of the clients served by. Housing With Help. They know
of the fine work being done there because a family member is a Housing With
Help resident. Through their assistarice, the Samaritan Socialites were born,
These volunteers work with the HWH staff on such things as weekly bingo, social
and recreational events, camping trips and other activities for the residents of
East Samaria and West Samaria.

Volunteer Programs

 

 

 

In addition to the aforementioned involvement of men and women joining us for “Raise the Roof
Day” and assisting our Housing With Help residents, volunteers played vital roles in a number of
other Tri-Corp Housing initiatives. Southeast Affordable owsing’s Packard Hall received a facelift
during 1999 thanks to a crew of United Way “Day of Caring” volunteers. - They assisted with

landscaping, fence repairs and painting,

South Community Organization benefited from the involvement of young men and women
involved in the “Reach Out-Reach In” program, a community service program of the Catholic |
church. For the eighth straight year, high school students from small towns and suburbs around
Milwaukee gave up part of their summer to help us on a variety of projécts. In 1999, two separate
groups, each accompanied by a counselor, spent a week in Milwaukee assisting us with painting,
landscaping, lawn cutting and many other chores. During the winter months, we benefited from
the volunteer work of senior students from Thomas More High School. Under the direction of our

property management staff, they helped renovate the interiors of many of our rental properties.
Case 2:12-cv-00216-CNC Filed 01/11/13 Page 90 of 93 Document 12-2
say

 

Financial Information Tri-Corp Housing, Ine.

 

1999 Income Statement

 

 

 

SCO & HWH SAHC& Eliminating 1999 Tri-Corp 1998 Tri-Corp
Affiliate Affiliates Entries Composite Composite
“Gan 850,175 850,175 886,196
Grant S$ tar , — _ — is '
Rent sPPOF svenues 683,012 960,088 | 87,525 (4) 1,730,621 1,636,331
Donations 26,474 146,450 _ — 172,924 61,590
Developer’s Fees om —~ 7,066 _ 7,066 30,422
Property Management Fees 150,958 — 65,808 . (96,735) 120,031 1,661
Miscellaneous 13,261 23,866 i 920 a al 54} 37,893 46,256
Fund-raising ‘ 2,854 : _ _ _ 2,854 1,869
Program Revenue 14,18] ~— vn — 14,181 His
Interest Income : 6,503 17,585 367 : (54) 24,401 26,581
Net Investment Income _ 7,152 _ . oe 7,152 6,781
Gain on Sale of Investments: _ 25,255 _ _ 25,255 32,177
Unrealized Gain on Investments _ 14,066 _ ~ 14,066 54,188
Total income 1,747,418 1,194,462 162,686 (97,947) 3,006,619 2,795,167
Expense ,
Program Services 1,602,030 956,726 179,995 _ (99,101) 2,639,650 2,499,825
Administrative Expenses 134,921 154,025 _ oe 288,946 331,968
Total Expenses 1,736,951 1,146,754 179,995 (99,101) 2,928,596 ~ 2,831,795
Change in Net Assets 10,467 837i . 17,309) 1,154 78,023 (36,626}
Net Assets Beginning of Year 765,984 1,701,457 452 625 (247,022) 2,673 044 2,723,385
Prior Period Adjustment ~ an _ , ~ me (15,715)
Net Assets End of Year 776,451 1,785, 168 435,316 (245,868) 2,75} 067 2,673,044
Balance Sheet — 12/31/99
Assets
Cash & h Equivalent (7,169) 186,046 4,485 . nome 183,362 41,661
investmeate ares — 473,545 — — 475 345 596,028
Other Current Assets . 1,946,119 132,856 18,587 (143,914 1,953,648 1,095,767
Restricted Cash 195,543 381,796 34,931 —_ 612,270 508,310
Property & Equipment 4,005,122 2,822,576 947 685 sone 7,775,381 7,754,855
Other Assets 9,077 16,673 1,546,149 (245,868) 1,326,031. 845,339
Accumulated Depreciation (654,347) (630,486) (135,643) ee (1,420,476) a 174,874)
Total Assets , 5,494,545 3,582,806 2,416,192 (389,782) 10,903,561 9,667,086
Liabiliti . ‘
Accounts Payable 199,291 134,004 79,606 (137,569) 275,552 266,310
Prepaid Rents 10,277 9.885 485 _ 20,647 —
Accrued Wages — _ 12,498 _ , 12,498 32,344
Accrued interest i 8,270 3 540 l 38 —_ 23,448 1 one
Income Taxes Payable ~ — _ 7 _
Payroll Taxes Payable 5,835 8,516 > _ 14,351 3,125
Property Taxes Payable 109,107 ~ ome — 109,107 . 52,881
Refundable Advances 27,649 _ ~ — 27,649 27,649
securily Deposits 80,699 em 42, 121 {6,3445) li 6,475 80,256
Cent Trust Liability . a 23,100 _~ _ 23,100 21,392
ret ett wg x8) asset
Current-Portion of Mortga 1,366, , , oo 491, 424,
Mortgages Less Current’ 2,686,394 1,350,038 1,766,901 — 5,803,333 -4'866.743
. Total Liabilities 4,717,894 1,597,638 1,980,876 (143,914) : 8,152,494 6,994,042
Net Assets '
Restricted 147,321 501,796 — 4s — 649,117 602,88]
Unrestricted 629,139 {283,372 435,316 (245,868) 2,101,950 2,070,163
Total Net Assets 776,451 1,785,168 435,316 (245,868) , 2,751,067 2,673,044
Total Liahilities & Net Assets 5,494,345 3,382,806 2,416,192 (389,782) 10,903,561 9,667,086

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 91 of 93 Document 12-2
 

 

 

ci

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Southeast Affordable | “South Community | Housing With
. Housing Corp. Organization Inc. | Help Inc.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1999 Board of Directors

President — Cynthia Cullinan”

Vice President — Dr. Leslie Gombus
Vice President —~ Gladys Roszak
Secretary ~~ Tom Gale

Treasurer — Jack West.

 

Edward Alarupi Dr. Vance Baker Warren Braun Cynthia Dodge
Judi Free Laura Gille Joe Henike Andrew L. Hunsick
Ron Knutel _ John Machulak = Robert Nicol Florence Plesser
Mark Silverman |

Executive Director — Michael S. Brever

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 92 of 98 Document 12-2
 

 Tri-Corp Housing, Inc.

 

- 1635 South 8th Street, Milwaukee, WI 53204
Phone: 414/643-7913 © Fax: 414/643-5972 © Email: tricorp@execpc.com

Case 2:12-cv-00216-CNC Filed 01/11/13 Page 93 of 93 Document 12-2
